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                        EXHIBIT 2
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                          Tab 01
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       February 21. 1995



       Interview Notes



       ____________resf»ncied to a cal! from Bernadette Kosterlitzky, Quality
       Management, to come to the Student Health Center for a convereation.
       Bernadette was filling in at the Faculty/Staff Clinic. She asked me to talk with
       him.

       ________ told me he planned to sue USG Student Health Center, Dr. Tyndall,
       Dr. Chan and Dr. Figatner and maybe Dr. Gardner.

       He reported he is a patient of Dr. Jones ahd is satisfied with her care.

       He plans to sue Dr. Tyndall for misdiagnosis and giving him medication that
       caused him his medical troubles. I believe his claim is that this drug gave him
       toxic hepatitis. He reports he has "permanent damage' as a result.

       He also believes Dr. Chan misdiagnosed him i.e., missed the diagnosis of toxic
       hepatitis.

       He will sue Dr. Figather and perhaps Dr. Gardner for an "ego conflict" with Dr.
       Jones. They took her off his case when he "needed close supervision for strong
       medication". They lied to him and said "She was sick" (and denied him a<xess to
       Dr. Jones).

       He reports being treated in an emergency room. He had no insurance and was
       told by Student Health Center (Dr. Gardner?) that the bills were his responsibility.
       He is angry about this as well as his treatment by Dr. Tyndall and Dr- Chan.

       I have asked Quality Management (Bernadette) to inform Risk Management
       (Doug Moore). She and Dr. Figatner have reviewed the chart. Dr. Figatner
       reports that Dr. Jones may actually be the prescribing physician (evidence are
       the Pharmacy slips).

       I believe Dr. Bernstein reviewed this chart because it was one where Dr. Gardner
       had raised issue with Dr. Jones about her care of this case.

       In my opinion Dr. Jones is coaching this patient in seeking legal action against
       the Student Health Center and the above named physicians.

       This makes Dr. Jones a high risk employee who uses poor judgment in terms of
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       her own liability which is also our liability. Dn the other hand, Dr. Figatner
       informs me the medication prescribed was appropriate for his condition and that
       drug reactions are possible. However, after over six months, his current medical
       condition can't be a drug reaction. There of course could be more to this. I
       requested Dr. Figatner to consult with Dr. Leavitt about this case last week when
       he reported Dr. Jones had alluded to legal action by               |. Dr. Figatner
       reported at that time that                 treatment was not progressing.

       Dr. Figatner and Dr. Leavitt concurred that Dr. Jones needed to refer
       for a consultation by a Rhematqlogist and she could continue to follow him at the
       Student Health Center. This was communicated to Dr. Jones.

       Finally, it supports the clear pattern that when Dr. Jones doesn’t get what she
       wants, she will do something to create uproar and blame someone else. This
       pattern of defying authority (and rational behavior) has been documented back to
       discussion with Dr, Gardner when he placed her oh probation. This center is at
       risk due to her unprofessional conduct and disregard for reasonable policy and
       procedures on both administrative and medical matters.



       Bradford D. King, Ed.D.
       Interim Executive Director
       Student Health Center
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                          Tab 02
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*


             On Matters Between
                George Raymond
                 Tyndall, M.D.                                               «
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                                             Part One

                                             Introduction
    First of all, I wanted to thank you for taking the time to meet with me on June 3 to discuss my interest in being
           *' involved with the process of accreditation of the University Park Health Genter {lipHC). As you can see
    actively
    from 1 set of enclosed documents which ( wrote prior to your arrival, I have been ver^ interested in moving the
          the
    UPHC toward accrediftdon.
         Secondly, I wanted to tell you how much ;1 enjoyed the June 11 retreat. Sjpecmlly during this time of rapid
    change in the health care industry across our nation. I believe such alj-staff meetings           invaluable for both
    infornfational purposes and morale. As you no-doubt gathered froip my cdinments,^t that time, you have my
    complete support with regard to your concept of taking a pro-active, a^opposetJjo a re-active, position during this
    time of change. In light of that meeting, it seems to me that my-ppsitfon diffem'from that of certmn other staff
    members only in terms of degref. I believe that all the evidence cuiTeiwfy^avanable supports my opinion that the
    UPHC is highly-regardol among our clients and that, therefore',,onlV'^rae tweaking and fine-tuning here and there is
    indicated. Others, patticulariy members of the Department of Health'Prjvemion and Promotion (DHPP), obviously
    are anxious for more substantirf changes-and the sooner tte better^^ ’
         My main concern continues to be that we do not allow obyious‘dtssatisfaction and frustration within the DHPP
    regarding their current roles at the UPHC to result in u| throwing out the baby with the dirty bath water, so to
    speak fAfi cttrreni tmnner of operation ofdhe OPHC is one which has evolved over a period of many years in
    response to the demands and needs of our clients, f^pt only the various polls of the students but also the current low
    rate of turnover among UPHC staff wotdd indi^te that# current manner of operation is quite satisfactory. That is
    why I take a more moderate position, reading clmge titan some.
         For the refnainderof this paper, I-.waiit to ta^you upon your offer of June 5 that 1 discuss any concents 1 have,
    regarding proposed changes irtour 0{*rations,'with you directly. My plan is to first put all my concerns here in
    writing so that # can review them at y#- leisate, then meet with you in a week or two after you have had time to
    consider each one of them Kfdisqu^ themln detail.
                               \

                XI
         My Annual Performance Evaluation
                      !
    During the meeting of you. Dr. Figatner and me on Wednesday, April 24, which I requested in response to a
    comment which was madeon my annual performance evaluation—“There have been occasional reports that patients
    do not wish to have fplipvv-up appointments with Dr. TyndaH"—no evidence w^ presented which would justify
    such a comment on my evaluation.
         You indicated that there was an ongoing collation being done of the commertte of students regarding their
    impressions of the care they received at the UPHC, but no evidence was presented at that time which would indicate
    that patients are not wariting to follow up with me to a degree that is different from any other UPHC practitioner.
    Now that the results of Student Satisfaction Survey m-e in, I still am nek: aware of any justification for the subject
    comment in my evaluation.
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          As to the origin of such comments, i believe 1 have been the victim over the past years of a campaign to smear
     my professional reputation, and I am saddened that this campaign seems to have re-surfaced tong after the
     individual(s) whom I had thought responsible for it have departed the UPHC. The strangest (art of all this is that if
     you will review ray pereonnei file, you will note that I have a dozen or so htghly-complimentary letters from
     patients regarding my cane—a fact vvhich makes the continued innuendo especially puzzling.
          It is very important to me that you have a clear picture of how, in my view, ail this came about, so 1 hope you
     will bear with me vvhile we go back in time.




              The State Of The UPHC In 1989
     ! know from your comments of May j that you were a consultant at the UPHC during t^ period. 1975-1983, But
    there are events that occurred between 1983 and 1989 about which, as ExsKutive and Metfical Director, i want you to
    knovv.                                                                           \
         When I arrived nearly seven years ago, it was following a period in which the UPHC Jiad been in great turmoil.
    By all accounts at least five highly-regarded phj^lcians, plus other pefacmnel, “resigned before the govemmg body
    (the Division of Student Affairs) took action. Only after the Bzeeuriye Diredor Md the Medical Oiid:lor (two
    different individimls) had departed did relative tfantjuility return-l{> ftoCiPHC^lfhat was just before I arrived in
    August, 1989. (1 filled an opiening that had been creafad by one      ^     ^ ion
         1 arrived at the UPHC shortly after completing a residency ih,obstetScs-gyneco!ogy here in Los Angeles at
    Kaiser. Outside the field of obstelrics-gynecology, it is nd common'ty^^nown that Kaiser's residency in obstdrics-
    gynecology is one of the most sou^t after in the nation. In fKMhfere.were 530 graduates of United Stales' medical
    schools who applied for the five portions, and of die five of lis^whcywere accepted, four, including myself, had been
    “AOA” in medical school. (I obtained my medical degree fr^ The Medical College of Pennsylvania, fonneriy
    Woman’s Medical College irf Pennsylvania.),         \       |




                           The Keiser Opportunity
                               %
          Once having compietedmy residency in i989, the choice I had to make regarding employment was not an easy
     one. On the one hpnd, Kaiser tod offered me a position as staff obstetrioiafl-gynecologist m Zion Medical f^nier in
     San Diego, a pos^on winch Would normally lead to full partnership In two years. When I was chrsen for that
     position, a rejSKeh^ve ftom the Southern Califomia Permanente Regional Personnel Oifice called to congratulate
     me. Sheared; “Dr. Tynt/ali, did you know that there are nearly two dozen staff obstetrician-gynecology who have
     been on failing jist for San Diego, some of them for nearly a decade?* When 1 replied that! had not known tot.
     she said, ’’fell, Irwant you to fenovy that you are very fortunate.” The starting salary in 1989 was $96,000 for a
     forty-hour weelCwith the opportunity to increase one’s earnings by as much as one-half that amount in the first year
     by taking optional extra duty. Even without extra duty, the salary schedule for obstetrics-gynecology at Kaiser
   . increases by $ 1,000 per month during the firel few years—to, 1 Mieve, a base salaiy of about $150,000 in five
     years for a forty-hour week.
          The job market of course, is much different today. Nowadays, I Understand, Kaiser is not even hiring phystdans,
     and the eraployn»nt situation for physicians is generally bleak throughout Soufliern California.
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                             The UPHC Opportunity
     Apart from the Kaiser offer, an attraetive offer was made by the management of the University Park Health Center,
     Although the starting salary was much lower— 565,000 for a 37-1/2 hour week—I was informed that there e,\isted
     Opportunities to earn extra compensation by working extra hours in the evenings and on Saturday mornings. In
     addition, there was the opportunity to earn extra time off. Here are the details of what were offered to me.


      First, The Opporturiity To Have A Very Nice Office
     Interim Director Dr. Ron Mandel indicated that, if I came to the UPHC, he would give me one of the nicest offices.
     Ropth 218. which I have occupied since I first arrived in 1989.


     Seconci, Opportunities To Earn Extra Goinpensation
     DA Mandel Stated that 1 would work from 8:30 a.m. to 5 p.m. (with a one-hour tunch)for a'tc^al of 37-1/2 hours per
     week. But in addition, 1 was offered the opportunity to work from 5 p.m^ to-? p.ra. on.Monday through Thursday
     evenings, for a total of eight extra hours per week. The record will shoty that I fa fact have been working those eight
     extra hours per week every year since my arrival in !9S9. The compen^tion thaU currently receive from this e.xtra
     work amounts to about $10,000 per year.                                    \


           Opportunities To Earri Extra Time Off BeyoncI
                 3
     The Usual Vacation Time \\ \
                                                              me fn 1989 as being long-standing benefits thatwere
     Apart from vacation time, the following were describeddo mi
     available to all physicians who practiced at the UPHC: i
                                                         \
         Tlie           Syst@m                       \

     Physicians me allowed to take up to 8 paid days per year off for California-required continuing medical education-
     those physicians who lake theit^CMB on their sfeheduied time off—such as weekends and hdidays—are allowed to
     mfce an equivalent number of cbmpensaMiiy days off at anotiier time, usually during tiie slower summer months.
     (UPHC policy was and cohtiiKi^sfo be,that two-thirds of all scheduled time off must be taken during the lower-
     patient-census summer months.); For example, if a physician attended a conference on a Saturday, s/he vvould
     subtract 7-12 hous frortk betoc his CME b^ance but then be compensated with an equivalent 7-/12 hours of time
     offatafuturedatti         t '‘'A
                     \ ^       I '
         Th0|'Beeper-Co^|5ensatory Tirne Off System

          As ydq fcnowj USC currently has an enroll ment of well over 20,000 students, each and every one Of whom is
     entitled to seek medical advice over the telephone at any time of the day or night. When the UPHC is closed, a
     physician is on-call throughout the evening/night and on weekends. Physicians who carry the on-caii beeper receive
     approximately 1,4 hours off for each weekday ev’ening/nighl and »ch weekend 24-hour day/cvening/night that they
     carry it.




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                  But The UPHC Opportunity Also
                    Entailed A Major Trade-Off
      But to choose the UPHC dyer Kaiser involved a major trade-off—s trade-off that will follow me for the rest of my
      professional career, namelyj loss of the opportunity to become certiFied by the American Board of Obstetrics-
      Gynecology (ACOG).
           As you may know, unlike yourfield of expertise. Pediatrics, whose Academy I believe grants Board certification
      after completion of the required three-year residency and passing the written examination, ACOG requires both
      complefion of an approved 4-year residency and passage of the written exam plus two-years of practice of the full
      range of the specialty, including the performance of surgety at an acuie-cafe hospital, before          certification is
      granted following an oral exam
           I p^sed ACOG’s written exam at the end of nty residency, but because I can not practice die fuH range of the
     specialty here at the UPHC, the decision to come here meant giving up the opportmity ip beePm&board-certifed.
     That ccMisideration Was by far the most profound aspect of the decision 1 had to make,.as lack* of board certification—
     especially in today ’s world of managed care—can mean virtual exclusion from ethployinent. l
          I discussed this issue with Interim Director Ecin Mandei, and he agreed that the situation I was in posed a real
     dilemma. But if I were to take the Kaiser job and obtain board certification ^er two yeatsi he could not guarantee me
     that a position at the UPHC would still exist, in fact. Interim Director Mande! informed me in 1989 that, prior to
     the recent spate of resignationss. It was quite rare for openings at thfeiJPHG to occur.
          “How secure is employment at use?” 1 asked him.                   ,,
          “Short of a major blunder, like stealing University property, ft’s almost impossible to get fired,” he replied.
     ‘The University protects its employees by requiring that rartaln cleaky-specified procedures be followed before an
     employee can be dismissed. Speaking as a manager, 1 can tell yotK,that if you are a good employee Job security at
     use is very high,”                                              'v
         So my choice was clear: good salary/good job secun^/pa          hip status/board certification at Kmser, but only
     very limited time off vs. acceptable salary/good Job secuijty/f» board certification 'out the Opportunity—one that is
     very important to me—to earn extra time erff in tke smrimer at the UPHC, in an employment opportunity that
     might come along only once in a lifetinw.     \       y"
         Last but not least, of course, was the opportunity and privilege of teking care of the wonderfully-interesting
     students of the University of Southern Cilifornia/
                                            \
                                      \           f




                            .      \

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              t
                  \     \
                            V, /
                                   I                  Trajan Family
     Kaiser^PermanenK gave me until NDvember, 1989, to make up my mind. After giving it much thought, I decided to
     stay at the UPHC where, because of my background in bodi obstemics-gynecolpgy and family practice (I had moon­
     lighted for about 40 hours per week at Kaiser's busiest Family Practice Urgent Care Center during five last two years
     of my residency), f was perceived as a very desirable new employee.
          And treated as such: la addftim to die benefits described above, Interim Director Ron Mandei granted virtually
     all my requests, including the purchase of a $2500 Cervicscope from dte National Testing Laboratories, plus a
     camera-ready colposcopc, instruments that i had become familiar with as a result of my fellowship with the
     American Sodety for Colposcopy and Cervical Pathology (ASCCP). As the many letters in my personnel file
     regarding this equipment will attest, the students were extremely pleased that the University authorized the purchase
     of such equipment, mostly because they liked having the opportunity to view their lesiotts—usually condyloraata—
     both "bd'ore-treatment" and ''after-treatment.'' (See further discussion below.)
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       In short, apart from attractive employee benefits, I joined the Trojan Family because I was made to. feel tha I
   would be a highly-valued employee Who would be encouraged to introduce to the UPHC the latest techniques and
   equipment for the care of my gynecology patients.


   Unfortunately, The "Honeymoon” Was Short
   Unfortunately, my use of this equipment caused much consternation among some of the staff (primarily some of the
   R.N.'s and some of the medical assistents). Alttiough 1 gave a number of all-staff talks and demonstrations regarding
   this equipment and the reason for its use, controversy abounded. Interim Director Dr. Ron Mande! explained this to
   me as follows;

              You have to understand the menality of some of the employees. For many years, the UPHC ha?
              em ployed certain individuals who believe that male students should be seen only by^ma|e’
              pfaciitionefs, while female students should be seen only by female practitioners. You are the first
              full-time staff we’ve had who’s been trained in obstetrics-gynecology, and, yod being..a raaie, it
              may take them some getting used to.                                                /

        “But there’s Dr. Howard Mandel, who’s also an obstetrician-gynecoioast and ma!e’''l reeled.
        “Yes. but he's only here for one or two half-days a vveek. Lel's^have yQu give another talk regarding your
   equipment. Explain to the R.N.'$ and M.A.’s once more what you arrii^oitig withj^our cameras and why you are
   doing it. Show them some examples."                                        \         /
        We closed the UPHC for one-half hour so ail the Interested j^rsdnriel could come to my office and view the
   equipment plus sample photographs and sl ides. After my presentalid^, die tlien-Director of Nursing said to me,
        "But why is your practice so different from that of the bthetp gyritologiste, like Dr. Mandel?"
        i replied that since 1 had the conferences of the Ameriia.D Society for Goiposcopy and Cervical Pathoiogy (the
   mouthpiece of the American ColJege of Obstetrics-GyBqcologxregartling diseases of the female lower genial tract) i
   had learned about these techniques, which the instructor utiliz&ih the conferences and seminars, and then begun to
   utilize them myself.                        ■ t' \           I '
         “Many of the patients really like hein|. able fiq see ihe progress of treatment and that their genital warts are
   gone,”! said.                            »,     \
        “Also, because in many cases fatients hav&eiecred to have minor-gtade iesions of the cervix serially fcllowed
   rather than treated, cervicography att^ djlpophotoiraphy allow the patient and I to keep a serial record of whether
   their feiorts are disappearing w^out tf^tment,”' I added.
        “If serial observation does'',pot shojv^that their lesions are regressing, then there is a legitimate reason for
   therapy. This is exactly .what thg^^erpi'n Society for Colposcopy recommends for compliant patients who can be
   relied on to come in fw regular foftow-up and who elect serial observation over treatment, as most of my patients
   do.’                   "x \
          “But why aren't the ot^er ^mecoiogists using these techniques?"
          "For the’OTsw^m rti^ question, you'll have to ask them," I replied.
          And f gave more talks. Just after the arrival of our former Executive and Medical Director, Stephen Gardner,
   M.D.,            1 |ave a talk on Human Papilloma Virus {HPV} infections and genital condylomata. One of the
   practitioners)a,pl^ician, raised her hand and asked this question:
        "What about ota! sex? Can patients beGOrae infected in the oropharynx from oral-genital contact?"
        Now Larry, 1 thought this was a very reasonable question when asked among a group of meditsl practitioners,
   R.N.’s and Mw^.’s who are providing care to young people on a college campus. But as 1 began to answer the
   question, I noticed tirat the then-Drrector of Nursing, who was seated at the back of the room, became red in the face,
   covered it with her hands, and then began shaking her head. She was apparently appalled that such a question had
   been asked. As I went on to answer Dr. Weinheimer's question, the then-Director of Nursing continued to shake her
   head while it was buried in her hands.
        It was after that experience that I informed Dr. Gardner that, in the future, 1 protably should give gynecology
   lectures only in the presence of the medical practitioners.
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           And there is stilt more to this topic of the discomfort of certain members of the staff regarding my practice.
           (n 1995, just after Brad King took over as Interim Director, the then-Director of Nursing (not the same one)
      reportedly approached him to complain;
           “Dr. Tyndafl, who is not even trained in obstetrita-gynecology but only has an interest in it, has been taking
      picture of the female patients.”
           When, according to him, she tvas informed by Dr. Fi^tner that I was fully trained in obstetrics-gynecology, she
      replied, ”1 am not going to accept that." As i recall, it was shortly after that the allegation—“Some patients are
      cmtcelling their follow-up appointments with Dr. Tynsjail"—first began circulating.
           Based on the comment in my April, 1996 evaluation, it has become obvious to me that—even after the
      departure of the individuals who seeintri to have a {articular problem with my use of photography—there is still
      someone in the UPHC who is seeing to It that the innuendo continues and. it seems, my professional reputation
      slandered. Yet to repeat, n« one shred of evidence has ever ten presented to ms—or to anyone else to the best of
      ray knowledge—that any of my patients have not wanted to follow up with me to a degree that is different from any
      other practitoner at the UPHC.
          This innuendo as best I can tell has to do with two phenomena:                            . '
      • the innovative photographic techniques—cervicography and colpoptotography (techniyes without which there
          would be no such thing as a textbook of colposcopy)—that I introduced to the UPHC in 19S9; and
      • nearly-unitnaginabie prudery among certain UPHC staff members for a field'smch as student health, in which
          problems with human se.xuali!y, menstrual difficulties and sexually-transmitted diseases—to name just afew—
          are especially common.
                                                                                        \

      And The Controversy Continyes-
      f.xt’s move on to other indicators of the degree to which I have been. In my view, unjustly controversial.
            It so happens that 1 am a rather voracious reader. When.l first       at ttie UPHC, it was my habit to distribute
     to the other practitioners photocopies of interesting articles i had"00*6 acro^ in the otetetrics-gynecology literature.
     Om day, 1 was informed that one of the R.M.'s, titon tte'IQualiiy Assurance Coordinator “(ttierc was no “Director of
     Quality Management” until Bernadette Kosterlitiky camO along)—had complained to Dr. Figatner about 'the filth
     that Dr. Tyndall Is distributing.’*             {            /
            “And he is vrmsting our Xerox paper, too," . repo.
            That "filth," Larry, turned out to be-an mficle from'The Female Patient, a recognized Journal of importance in
     the obstetrics-gynecology literature. K \
            Then another strange event,occurn^.l learned that a female physician had complained to Dr. Rgatner that it was
     inappropriate that f nearly ajways ask re|Jroductive-8ge female patients (the vast majority at the UPHC) the date of
     their last menstrual j»rial-<Lf4P}\regard{eSs of their complaint
            That's an invasion of pivafiyA^she fepottedly said to him.
            Now I ask you thia.question, Larry: Practically speaking, can you think of any significant medical complaint
     that a reproducu\{e-age woman.coold have regarding which her LIVIP is not important*? Apait frems the fact that
     pregnancy i$ in the diffeWtial diagnosis of so many compiaints in our population, virtually all medications,
     including ShoSe sofoOTC/have some sort of disclaimer about usage in pregnancy. Strictly speaking (and how else
     should w|be speaking in'today’s medico-legal environment), it may be a am ofprima facie medical maf|»actlce to
     prescrite most medications to a reproductive-age woman without first determining whether she might be pregnmit.
     Yet, accorrang to it least one UPHC physician, to ask such a question was not medically necessary but an ''Inva&on
     of privacy."

             A Hypothetical Coyrtroom Scenario

      From that story, let's construct a short courtroom scenario.
           Attorney for the plaiatiffi “Now, Dr. X, the record shows that my patient’s newborn infant has a severe
      birth defect. Isn’t it true tlmt you prescribed medication Y to her when she was atout 7 weeks pregnant, that is.
      during the critical period of gestation in which wganogenests occurs?”
           Dr. X: "Yes, 1 prescribed that medication, but 1 asked the patient whether she was pregnant, and she said.
      ‘No.
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                                                                                                                               7


          Attoraey for the plaintiff: "And you accepted that? Have you not heard during your medical training of the
     psychological concept called *deni^,’ vvhich is especially common among students, who don't want to believe that
     they ojuid be pregnant, especially when they have two final exams coming up?”
         Dr. X: “Yes, I'm familiar vvjUi the concept called'dsnial. »»»
         Attorney for the plaintiff; "But did you ask your patient whether her menstrual periods are regular and
     when her last mcnstfual period was, whether it came at the right time and lasted the right number of days? In other
     words, did you make a careful attempt to ascertain that she was not pregnant before prescribing her raedicationT'
         Dr. X: "Perhaps not as cm-eful as I could have”
         Attorney for the plaintiff: “Why not?”
         Dr. X; “Because I think such questions are an invasion of the fHtient's privacy ”
         Larry, given such a meotaUty, here's a question for you: Are you beginning to see why hbave given up on
     gynecology talks or handouts—now, even for the practitioners—at die UPBC?
                                                                                                          \. '
         The Snub                                                                              X
     But there is still more to this sad stoiy.                                           \
          Last year, the Comiming Quality Insurance (CQlj Committee—wUch wasdhtm't^ired by an R.N. {Bernadette
     Xosterlittky) and which was composed mostly of medicaliy-untrained mem!^ a the MfecfjteaftA staff {dejwtmenl
     heads and such)—implemented a new gynecology form without ever^offl^ng the WHC’s only fully-trained
     obstetrician-gynecologist—or any other members of the UPHC’s me              Staj D.OM and MD.'sJ. to the best of
     my knowledge — any opportunity whatsoever to comment on it.                         /
          How's that for a snub, Larry?                                 "
         And the stated reason forcreating the new form?            ^
         “Some patients are uncomfortable with questions abou|or^sms’%equency cf intercourse, and such.”
         Now, i’m sure well be discus^ring this topic later irf^rfct <teElj,.-but for now, as you very well know, oral
     contraceptives {OC’s) can and do affect libido and, in timi,           of intercoutse as weil as the ability to achieve
     orgasm. Thus, a question about; or^m or chaMeTitUibi^i^'^rfectly legitimate on an “Ora! Contraceptive
     Follow-Up” form. Over the years, I have had. n^y patrents^describe near-breakups (including marital breakups)
     because erf changes in libido that subsequently couf4 be tr|ced to an OC. That is one reason-just one among many,
     as you can see from the enclosed menio                      , 1995—why I do not utilke the new “Oral Contraceptive
     Follow-Up" form.

         Questions For Larry, Melfsstsjrs
     Larry, with regard to the Q^foifew-u^form: Could we have here still another example trf prudery on the pmt of

     certmn members of the UPifC ^f^king'precedence over gcxxl medieal/gytrecolo^c care?
          ff tt is really true-that •%me prtents are objecting to certain quesb'ons on the form," dien is that an acceptable
     reason to lower <mt stanitard*^ care for the majority of patients, who appear to have no problem at ail wnth Uiese
     questions?
                        r patjenfs jboW nodiing of Masters airi Johnson and their description of ttie stages of human ^xud
     response        mmf lave never h^ of USC’s own Arthur Kegel and his Kegel exercises. Having the question Wtout
     orpsm oh the fo lete these many patients know that this topic is suitable for discussion, if they are so inclined.
     ThiMe few'^ho s uncomfortable with the question regarding orgasm usually leave it and die firfiowing question
     ("Concerns              ______ ?”) blank, in which case we might never discuss the issue.
          But then again, we might, if the patient gives any indication that she wishes to do so. Larry, as you very well
     know, every medical school in America leaches that a Sexual History is an integral pit of the Medical History. And
     articles on human sexuali^ permeate today's magazines and periodicals that are ter^ted at the^neral public.
          Yet, think about this: Dr. Flgatner ontre said to me during a discussion regarding the OC follow-up form, “1
     think you are the oniy practitioner who gives a handout on Kegel exercises if the patient indicates that she has
     concerns about anorgasmia. The other gynecologists don’t even address the issue, as far as I know.”
          Larry, my handout on Kegel exercise.s comes from an issue (an old issue at diat) <rf—are you ready for this?—
     the Reader's Digest which, as you may know, is read by more people throughout the world than any other single
     publication.
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           Are you understanding what i am saying here? The editors of the most widely-read publication on Planet Earth
      believe that the subject of anorgasmia is suitable for discussion in their publication, yet here at the UPHC—a
      practice-setting in which issues of human sexuaiity are ubiquitous—I am reportedly the only gynecologist who
      responds when a patient writes down that she has concerns about problems achieving orgasm.
          That is why 1 continue to believe that the relevant question ought to be not "Why is Dr. Tyndall 's practice so
     different from that of the (Xher gynecologists?" but rather, “Why are their practices so different from triine?”
           When I happened, by pure chance, to learn that the new OC form was about to be implemented, I presented a
     very lengthy and detailed memorandum (a copy is in the enclosed set of documents) concerning the inadequacies of
     this new form. Yet I never received so much as an acknowledgment of that memorandum, on which I had spent
     many hours of my persona! time. The new form was simply implemented by the CQ/ Commtoee without further
     discussion.                                                                                           ,*
          Lafiy, would you not Ire offended if a form pertaining to pediatrics or adolescent medicine was implemented by
     mostly untrained members of the allied health         without so much as a solicitation of your views'^
          You indicated in our meeting of April 24 that we will be discussing our medical forms during the summer. I
     look forward to presenting you with my views at that time. Enough said for now.
                                                                                                   \
                                                                                            \


                                                                                /
                                                     In The                 S



                                                                  ,\
                                                                          Olsen’s Clinic
                                                                        \
                                                                                    trogressive
     With that history, you can perhaps See why, in my papi^f ^^y^15,1 saw these clinics as a not-so-well-disguised
    attempt to retrogress to the UPHC's not-so-distpit past, when male patients were assigned mostly to male
    practitioners and female patients mostly to female pt^idoners.
         The proponents of these clinics wOpld haye us believe that such clinics provide superior care,Yet, they have
    offered not one iota of evidence in ^pport of ti^ pMim, The concept that we should do this became other student
    health centers are doing it has no more Opdibility, in my view, than the concept (one I know you dislike, too) that
    we do it this way because we 've^atway^done it this way .
         As I said in my paisr,$f May 15, if It is our intention to become accredited by the AAAHC theri proposals such
    as this one should be submrtted^'with .sufficient detail regarding where the clinics will be locmed, who will staff
    them, what the costs ai^, elc.—to      medical executive committee prior to submission to the medical staff [D.O.'s
    and M.D.'sfm a t^hole^f^r «^ideration, per ARTICLE XII of the Model Bytovs of the AAAHC.

              ,A


                                        zed For Accreditation
    Which brings us to this final section of Part One of this paper.
        As you know, the accreditation process involves interviews with many, if not most, of the UPHC staff. A
    “Guiding Principle” of accreditation, whether by the AAAHC or the JCAHO, is that "The medical staff will be self-
    governing widi r^pcct to all professional activities,” Should AAAHC surveyors learn that the medical staff has not
    been self-governing, that is, that changes in their professional activities were made without their express approval,
    then our years of effort prior to the survey nay well have been wasted.
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                                                                                                                              c



           Larry, I don't know any good way to say this tactfully, but [ am going to try my best. You have sad that
      Bernadette Kosterlitzky, R.N. wil! be attending an upcoming AAAHC conference, and f assume that means that you
      will be relying on her for advice and guidance as we proceed through the ptiocess of becoming accredited. Since she
     purportedly has years of experience in the ante of accreditation, she is a logical choice to attend the seminar. All I
     am going to say at this time is that a number of the smff, inciuding me, have attempted on a number of occasions to
     confirm the authority for some of the directives and statements that she has issued but we have been unable to do
     so. Our perception is that Bernadette has a very strong yen to be seen as a manager and as a person in authority and
     that this yen som^mes, how shall we say, cfouds her interpretation of what she reads.
           A good example is the cuirent composition of our medical executive cpimnittee. I know she says that it is
     commonplace to have non^-physicians sitting as voting members dn the medical executive cdminittee but despite
     being invited to do so. she has never furnished even one example of an ambulatory health organization that is so
     organized. We are aware that sometimes the medical executive committee mil invite, say. the Dirtetor of ^uising or
     the Quality Assurance Coordinator—excuse me, the Director of Quality Management (a title, by the way ftat teme
     to the UPHC vvith Bernadette's arrival) to attend certain parts of a medical executive Ca^mittee meeting if their
     presence is necessary, but we have been unable to confirm an instance in which any non-physiciaBs have actually sat
     as regular voting mwiibeis of this committee.                                            d             >’

           By the way, I hope you can find the time to review the attached documents wl'^ch si^raarize the definitions,
     guidelines and requirements of the AAAHC regarding the structural organi:tetidn tha^ ambulatory health center
     (AHC) that seeks to become accredited should possess^ I Irave spent houtS|hpoa hours php a fait amount of my own
     money (mostly on phone calls) researching these issues over the past sc»s. Hte's what is contained in that set of
   ■ documents;                                                                  ^           yv
          • Paper A is a summary of the Model Bylaws of the AAA'HG.^IteraiKt. important points are these;
                « allied health professipnal includes physician assistacfe, nurse^ractitioners, podiatrists, psychologists
          or, in genera!, “licensed health care^rofessionals other;thaira phsician"
                • medical         is defined as D.O.'s and M.D.'s \ \          V
                » allied health staff includes all other professmnllsVlhe AHC (R.N.'s, iM.A.'s, medical records
          professionals, lab techs and so on)            ^ "N. \ „X
                • governing body means the Divisid^of Student,.Affairs or, in general, the management staff of the
          University of Southern Californiay including IhbUPHps Executive Director
                • appointment authority to fte m^al s^lps witi\ the medical src#together with the governing body
               • appl ications for such appoi*HtmenfAQultfhe developed by the medical executive committee
               • die governing body ma^actept the fecdmmendalion of the medical executive committee or refer it lack
               • medical staff primreg^|m8mnied, continued, modified or terminated by the medical executive
          committee or, in the case oithe ufec, by tire governing body upon recommendation of the medical executive
          committee                              y
               • in the case            ii&nvofving an arbitrator the hearing offieer shat 1 be an attorney at law
               • the qfficer-sfff^ nnedwal jtojf include the mediccd director, the assistant metMcal director and, probably
          not in our ca^, a secmai^r'fosurer
               • the^dicalMrecior is the chief officer Of the niedicat staff (thus, when there is a combined Executive
                  ir/         Dirtetor such as at the UPHC, that person both heads the medical staff md is a member c# the
         governing body
               •V committees ^ hasty please ncrte that the functions of these committees are to be "performed by a solo
          practitkjner w group of praetitioners acting as a committee of the whole”—that is to say, if there are separate
         cornmittfesftechof these committees should be headed by a pracrirfoner and tWs chairperson and the members
         of the various committees “shall be appointed by tlie medical director subject to consultation with and approval
          by the medical executive comtwKce”(this is in line with “the guiding principle” for accreditation; nameiy, “the
          medical staff will be self-governing with respect to all professional activities")
               • Ute medical executive committee "shall consist of the officers of the medical staff{ll^ medical director
         and the assistant medical director, ia our easel” and. optionally, “the standing committee chairpersons” [as
         defined in the last paragraph j—note that all members of the medical executive committee should thus be D.O.'s
         and M.D.'s
               * the medical records committee shall have a chairperson [who is a member of the medical staff eppomied
         by the medical director\ and “it shall consist of Q medical staff TcamherS [note the pluraij” plus, optionally, “a
         nurse representative and employees in charge (£ maihttuning medical records”
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              • similarly, the utilization review committee "shall consist of (! medical staff members”—note once
         again that these committees are composed primarily Of merabers of the medical staff, in other words, the D.O.'s
         and M.D.'s
              • as another exampre, the pharmacy and therapeutics committee “shall consist of at least 11 medical staff
         members” plus, optionally, “a voting representative from the pharmaceutical service, a non-voting representative
         from the nursing service" and, again optionally, “a non-vodng representative from the governing body"
              • the quality assurance committee “shall consist of 0 medical staff members of the organization, a
         member of the nursing service" and, optionally, “a member of tic governing body"
              » and so on for the rest of the committees, with the exception of the Joint conference committeenote
         that this committee consists of “an equal number of members of the governing body and of the medical
         executive committee " and "die chairmanship of the committee Shall alternate y^ly” between|,tbe two groups
              • I have already discussed elsewhere ARTICLE XH regarding rules and regutalions, wWch can concisely
         be summed ap as follows: “The medical staff shnll initiate and adopt such rules and regulations as it ifay deem
         necessary for the proper conduct of its vvork” by Submitting proposed changcs'to, the medicaf'executive
        committee “for review and evaluation prior to presentation for consideration by the medical staff as a whole
         under such review or appiroval mechanism as the medical staff shall establish.” According to the Model
        Bylaws'.'The mechanism described herein shall be the mIc method for initiadon, adoption, amendment, or repeal
        of the medical stiff ruies and regulations."                               \ ’*    \ /
             To sum up,in matter affecting the professional activities offhemedicWsmS’ithe^nKKficalsmJ'shail be self-
        governing. The medical executive committee represents the intere^ bf the'tnedical: staff at annual meetings t^
        the Joint conference committee. The Joint conference cewwrrree'bhould hive an equal number <rf members
        coming from each side —the medical executive committee ahd tbe^averning body—and the chair alternates
        between the two sides. Each of the various committees ia.chairod by ^practitioner who has been appointed by
        the medical director. This is all part of a “guiding principle”      i attempts to maintain the autonomy of the
        merfe£t/i«#tn matters relating to the practice of mediSineX ^
             • Paper B is a memo which 1 wrote to Brad lastwedr alter a phone conversation with -Ms. Pat Ferrigno
        of the AAAHC, Please note the lengthy quotatit^frcpi omt,phdiie conversatitm.
             • Paper C is also a memo that I wrfete last                  that the medical executive committee that you
        have created, which also iircludes two R.N.'s who aii regular voting members, would quite {xr^ibly not pa^
        muster for the accreditation purpeses. That's why^itseems to me that the best course of action would be to have
        only members of the medical staff^p ttm'kedical'executive committee as is done in other organizations and as
        Is clearly suggested in the Mp^e/\Syfawlv>v1iich specify that the composition of the medical executive
        Committee shall include the meMcS^direcibr, the assistant medical director and, opdonally, the standing
        committee chairpersons.” \           y
             • Paper D is adengray effo _ made to communicate to the members of the CQ! Committee directly
        that we were not pro^rlyT^g^ize'd. Larry, I don't expect that you will actually read diis through, but! am
        including it here aimva^to give‘you an idea of
                  • |vhat^g6|ng<m here before your arrival
                  • how mu^ time and effort I have expended with (his issue.
                            w Iwritten in March, 1995, when I was informed that the new “OtM Contraceptive Foliow-
        Up |orm was a»i !pto be implemented. Bernadette never responded to ray request to be allowed tp feyiew the
        A( )G docun^n®,
             • Vpaper F is my February 22,1995, memo on tthe deficiencies of the new “Oral Contracepitve Follow-
        Up" fonrii-d memo that was simply disregarded.
             • Paper G depicts how Bernadette tried during Brad's tenure to set herself up as a hearing officer
        regarding a dress code, even though the Model Bylaw specifically state that any hearing officer will be an
        attorney at fow. This is anottter esxample of what 1 meant above when I mentioned BernadMte's yen to be seen
        as an authority figure. Another good example is how she convinced Brad to allow her to change her tide from
        Quality Assurance Coordinator (which suggests the traditional advisory cajmeity for this position) to Director of
        Quality Management (which suggests a management role).
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                                                                                                                               n


                                               Part Two

                                                            Requests
      With that extensive bacicgroud in mind, I would like to proceed with the ftrflowing requests.


      1) Aflegations That Patients Do Not Wlsh'‘to-Follow
      Op With Me                        \
                                          ‘ . r' /
                                                                                    i '       \ V
      Please conduct a full investigation of this allegation—an allegation which iW.raused       great emotion^ distress—
      that patients do not wish to follow up with me at a rate that is gret r tlita that pf any other of the UPHC
      practitioners, (As I’m sure you know, it is not at all uncommon—throustbout Uie,piedical profession and not just af
      the UPHG—for isolated cam to occur of patients not wanting to>see^ag n a giyeffpracUtioner.) As 1 have already
      stated, if such an allegation can be substantiated, then I am mwe ttan      too accept constructive criticism and take
      corrective acfibn, as it is my intention to offer Only the very        to our clients.


      Request #1
      Piease advise me as soon as possible of the resuH^of yo^ inveMgation of this allegation^. If It is groundless, dien
      1 trust it vviil be removed from .anniial performanos^evmimtion forthwith and the person or persons responsible for
      slandering my professional reputation promptly soug^t^t and discipline.
                                            , \
                                                                              Practitloiiers’ Office
      Locations                                7'
      Also during our meeiiq| oi^ April       you mentioned that, in the interest of continuiQr of patient care, you are
      considering a stra^gy tha|.!h     involve practitioners changing their office locations. As I mentioned to you at that
      time, a problem f|gardin tttB'CinjabUity of patients to obtain foUow-up from the same practitioner has in fact
      existed for s^e ti*|e: at ( e UPHC. But that probletii has to do with the inadequacy of our appointment system,
      which dofe not allow-foptiie booking of Clients more than a week or ten days hence. If continuity ofcare means the
      ability of'a patien^to follow up with the one and the same practitioner who first saw him or her, Uien I do not
      how movi^ ptac|itioners’ office locations m establish practice groups would iMt improve the desired continuity.
      Furthermore^hefe are other Issues involved with the concept of moving the office locations of the practitioners,
      including:




      As I detailed above. Room 218 was specifically offered to me during negotiations regarding my employment. It is
      my understanding that verbal promises made by an employer during contract negotiations carry dte same weight as
      written promises (see Appendix). If, as a representative of the governing body, it is your intenuon to breah the
      implied contract between me and the University (the detmis of which can be substantimed by the behavior of the two
      parties to the contract since 1989), then please so inform me as soon eb possible.
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         3) Yoyr Proposal To Change The System For
         Granting Compensatory Time
       At your meeting with the practitioners in your office on Friday, May 3, you indicated that you are considering a
      change in the system of compensatihg practitioners for carrying the on-call beeper during; evenings/nights and
       weekends. You stated, “Since some practitioners are complaining that they receive inadequate funds for continuing
       medical education, perhaps the present system should be changed to one in which additional CME money, could be
      earned by carrying the beeper."
           With ail due respect, l^rry, that idea makes little or no sense. There are only a handful of physicians willing to
      carry the beeper under the current syrtOT vvhich—although it provides rather minimal compensation—i$ certainly
      better than the compensation tliat you proposed. 1 have received as many as twenty calls while casing tjie beeper
      over the 63-hour Friday 5 p.m.-Monday 8 3.m. weekend, many in the wee hours of the night, so that my weekend
      plans are often ruined. The compensation for the physicians, to repeat, is really quite minimal;' 4.2 hours
      compensatory time off, for ejiample. for taking calls throughout the 63-hour weekendytaiting at 5 p.m. Friday
      through 8 a.m. Monday tnorning. (Two-thirds of those 4,2 compensatory-time hoiirs off? I sat'd, must be taken
     during the lower-patient*census summer iriOTths.)                                    \    \ X,
           Larry, does 4.2 hours off during, the summer for being available tp^over 20 ni ^ erits for 63 hours on a
     weekend seem excessive to you? How about 1.4 hours for being available to tfem from-5 or 7 p.m. to 8 a.m,—13-
      IS hours perevening/night—ona weekday? Perhaps the best evidence t^atthiscc^^nsation for carrying the beeper
     is minimal is the fact that, of the 10 physicians at the UPHG who-pre eliabic to aifry the beeper, only 3 or 4 of us
     regularly sign up for it.
           The system is a great deal fitr the University. In return fof’^ pt&titioner'being available to the students 24 hours
     a day during the busy j»ft of the school year, the practitipnei^ take^teir compensatory time off during the lower-
     patient-ecnsus summer months. Thus, it costs the University                beyond the practitioner’s base salary to have
     this coverage available 365 days a year.
          1 know you are not a fan of history/the past, but plea^^ eohhi the foiiowing:
                                                          \
     •    The current system of allowing compensatory            ((^) to physicians for various activities—indudtng staying
           beyond the end of their assigned shifts to We f^i'enty—has existed for much longer than the seven years thai I
          have worked at the UPHC. Currest W-yeanf emplpyees of the UPHC confirm that the system                  in existence
          when they arrive. Thus, it seems that the current system has been in existence kit decades.
     “    Presumably, your reason for sug^stmg a charge is to save on crBts. But is it correct to state that the existing
          system costs the UPHC anXeignifiemt money? As you know, current UPHC rules and regulations stipulate
          that iwo-thirds of all vgcadCM( and CS,must be taken during the summer months, when the UPHC patient-
          census is lower. Medical Staffwho aWrucd a few hours of CT as a result of staying late to see patients during
          the busy part of tte scfeoil year^tsually take their CT during this slower part of the year. In short, the existing
          CT system efficiei^ reaWc   locates or redistributes compensatory off-time from the busy time of the school year
          to fte slow ohit of thdyeW  yand, it seems to me, everyone benefife;
                  ■Vi        US€ students benefit from having practitioners who are willing to take as much time as
                         for their care, regardless of when the practitioner's shift ends and her of his off-time begiiKtand
                         tioners bemflt fsom being ajmpensated—on an hour-Eor-hour basis (aof time and one-half as
                      xempt” employees would receive)—for taking care of patients during their scheduled time off.

          Orie observer has stated, “If you were in private practice, you would be expected to see the extra laiient without
     getting compensatory time off.” I disagree. If we were in private practice we would be receiving extra compensation
     for seeing the additional patient—and the extra compensation might very well pay for extra time off at a future date.
     (See box below.)
          Regarding specirtcaily CT for carry ing the beeper, the current system for compensating physicians for taking
     after-hours beeperncall has been in e,xistence, according to my research, for decades. It is a tong-established benefit of
     employment at the UPHC, one which was specificaily offered to me during negotiations regarding my employment
     with the UPHC. Larry, please excuse the legalese, but 1 beiieve that a decision to change the current system wouid
     constitute a breach of contract and should be considered in that light. Personally, I doubt that the Uiuversity of
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                                                                                                                                   la


     Southern California administration has any intention of breaching a contract with any of its employees, especialiy
     benefits that are so great for the students and for the University and that cc6t the University as little as this one does.


     Request #3
        If it is your intention to take away or modify the current method of compensating physicians with compensatory
    time, then please so inform me as soon as possible.




                 Is It Appropriate To Compare Employment at a Student Health Center With Pri vate Practice?

    I believe that it is fundanBenially inappropriate to compare employment at the UPHC either with tlie private practice;
    of medicine or with other situMions in which one is an employee-physician. Why? Because student health centers,
    precisely because they care for student populations wirh the usual vacation times, are unique places of employment
    that offer uniquelifestyle advantages diat are only rarely found in private practice.
         But there is also quite literally a price to he paid for these lifestyle advantages; namely, far lower dollar
    compensation, as 1 detailed for you earlier with regard to my own case.
         Now, I’ll be the first to admit thm USC and the UPHC offer attractive benefits to its employees—that is one
    reason the University is able to attract good employees who are willing to work for it for little more than half what
    they could earn elsewhere. And!, for one, am quite proud of the "civilized" manner in which the University treats its
    professional staff.
         With regard to this subjeot of compensation, I am not aware of any evidence that we are overpaid fpr what we
    do, It was only two or three years ago that the salary schedules for the medical staff and the allied health
    professieaal staff (Physician Assistants) and some of the allied health staff (R,N.’s) were raised (in
    some cases draraatiGaliy)—after W official salary survey by the University's personnel office revealed ttat some of us
    were being underpaid.
         I’m sure that you can find e.tamples of physicians who earn less than us, but given that our salaries are based on
    a professionally-run survey , would such a finding indicate tiat we are overpaid—or, rather, that the physicians you
    have fmffld are in fact uftderpaid}




                                 To Alter The Current System Of
                       f The ypHC Between The Hours Of 5 p.m.-

    Also at yoW meet&g with the practitioners on Friday, May 3, and again at the May 12 retreat, you voiced the idta of
    changing ^e^ufjlnt system of staffing the UPHC during the hours of 5 p.ni.-7 p.ra. I am not a lawyer (and hate
    sounding lilce one, believe me), but once again your proposal appears to raise the issue of breach of an implied
    contract between the University of Southern California and its employees.
         As you know, the current system came about as a result of complaints by evening students many years ago that,
    although they, too, were paying the health fee, they were being dehiai accKS. You propose to have physicians work
    staggered shifts (for example, 10;30 a.m. - 7 p.m, with an hour for lunch) as opposed to working an extra two
    hours, from 3 p.m.-7 p.m., for extra compensation under the current system.
         My research into the pertinent history reveals that when practitioners and other employees, who had originally
    been hired to work from 8:30 a.ffl.-5 p.m.. were told a number of years ago that they would have to work staggered
    shifts, they refused. Subsequently, the University offered extra compensation for working late, but even then the
    shifts were difficult to fill, in fact, that is the reason I was offered, when I was hired in 1989. the opportunity to
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14,


      work all four nights that the UPHC is open—interim Director Ron Mandel told me that therewere insufficient
      volunteers evenwith the extra pay.                                                                 j     ,
           For me, as detailed above, coming to work for the UPHC involved a loss in the first year alone of about
      $30 0<M) peranmm compared to Kaiser, therefore, 1 gladly accepted the opportunity to work every evening for extra
      compensation. Since 1989, 1 have been earning about $10,000 per amum in extra compensation as a result of
      working eight extra hours per week in the evenings at the UPHG. Any change in the current system would cause me
      substandal financial disWss. You have not sl^ed any reason for changing the present system. (It is widely known
      throughout the UPHC that certain personnel who do not have the opportunity to earn extra compensation are
      6,xtremety dissatisfied—not to say envious of the current system. But I doubt your proposal is based on such
           "weLme that your proposal is based on budgetery considerations. And although the cutting of staff md ^taff
      costs in the name of a “fiscal emergency” has recently been successfully challenged in a court of.iaw (see “CUNY
      Misused Fiscal ‘Emergency’ To Cut Staff and Costs, Judge Rules ” The New York Times, May,3, 1996). 1 am
      cognizant of. and agree with you regarding, the need for the UPHC to provide the best care at the l^est possible
      cost to the students. As I said above, 1 am behind you 100% with your pro-actiye concept.,pf trying to provide
      service more efficiently and more cost-effectively—even to the extent of taking a payment. |     ■’

                                                                               /\
      Request #4
                       hours in the evening clinic than any other pracfitiQoej^^d thrive the most to lose f naneialty
          from a change in policy; and                                   v     x           ,             j • .1,
      .   I was the only employee in 1989 to accept the University's^equestfor aiyiUanal volunteers to work in the
          evening clinics; then
      •   1 would like to be offered the following by the University: \    >
          * The tocpportwii/y to work the proposed 1030 a.iit^.ih. shift on a                  tots.      _
          . A raise in my base pay of $5,OiXYtf,500 pef'dnmm\ partially offset the $10,000 in annua! income that 1
              will lose from a change in the Gurreni svktem. \        ./

                                                  s
                                                  T




      5) TheH                                                   s Clioic11 I

                                                      :-pf My Emptoyment Contract
      On May 15,1996.1 distribut^ ly pawr on the subject proposal. The purpose of that paper was to show that there
      are a great many issues lusjdng elowlhB surface of the proposed change in how the medical staff will practice
      medicine at the UPHC; T*" re ts^tee issue, however, that I did not take up in that paper, as it involve a matter
      solely between me and, tf UnivSly (whereas the May 15 paper               simply a response by a member of the
      medical staff toapri       1 „^t had been submitted to it),                                      .....
                      ^
           When 1 was 4i™red   inliolf!  I was told by rnterim    Director Ron Mandel that I would be dividing my bme
                     equkly between gynecology and general-practice patients. From 1%9 until the present, t have in fact
                     "^t thre^Tormai haif-day gynecology clinics per week, in addition to seeing a smattering of
      conducted at
      eynecolofci patients in my reguiar non-gynecology clinics.                                         1 ,-r •      n
       ^ As I^imed Jut in my paper of May 15. if it is the intention of Uie proponents of the Womens
      be "preferabiy^mFfed.for the most part, by female medicai personnel,” as stated in                             Jj
      then 1 need to know what their intention is with regard to my practice, i am presuming lhat,_smce I ^ iteomy
      fully-trained obstetrician-gynecologist at the UPHC, I am the exception envisioned by the phrase, tor the most
      part”~and 1 do fully expect to continue with my three formal gynecology' ctmics each week.


      Request #5
      If the proposal for a Women's Clinic will in any way result in a breach of the contract between me and the
      University, then please so inform me as soon as possible. Specifically, if it is not the intention of the pro^^ sof
      the Women's Clinic to include me as part of it so that as my current patients graduate I will have no gynecology
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                                                                                                                             !3


      patients to care for, then plrase so inform me so that we may begin discussion of this attempt to breach my ccmtract
      immediately.




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             Appendix—Special Note To Larry
                       Neinstein
          Larry, regarding this Appendix, please do not misunderstand why I am quoting the text Ijelovv herein. The
     farthest thing from my mind at present is to get Into a lega! dispute with an exceptional empioyer for whom I have
     great admiration, pride and regard; namely, the University of Southern California, l^quote thtM>iece only to
     demonstrate that with this paper I am simply doing what is suggested therein, that is,              negotiate." I don't
     know you personally, but I am assuming that, like me, you are a person of integrity.yhus,"4f .you were in my
     situation, I dare say you would find yourself forced to write to your superior just ti^wayTam writing to you now.
     After you've had time to digest the contents contained herein, please let me kpow so 1 (^ schedule a follow-up
     appointment. At your leisure-but as soon as possible—please ask Luqt^to sched.uje a one-hour (or more)
     appointment betw'een the two of us so we can discuss the issues that I hav4 raised in tbif paper in demil.
         Thank you very much for faking die time to read this.               \        \,


     California Coiitract LaW‘“LawsMits\Over Contracts
                                                                 \\ V
             A contract is an agreement between two pe^le in '^htoh^ach promises to do something for the
             other, The key to a contract is that eactvside must prctmiSd or do something of value. ,.. , Many
             everyday transactions are contracts, sucitas Qpe|ing« checking account, .... In most cases, an
             oral contract is legally valid and biiding. \. . ,1 .If one person doesn't keep his or her promise,
             the contract has been broken (‘breached'). Tte other person may try to negotiate, seek mediation or
             arbitration to settle the dispute,'©r cake'the breaching party to court.*
                                                         V‘/


     * G uerin, Attorney Lisa; Ginsa, ^ti; N ft^s Editors. Nola's Pocket Guide to California Law, Third Edition,
     Berfceiey; Nolo Press, 1995. Cfiapter'entitled “Gourts and Lawsuits,” pp. 43-57,



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                          Tab 03
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                 October 16,1996




                 Dear!

                 I wisb to expres$ my concern that you felt your care was not what you
                 would have hoped for at the University Park Health Center. It is our desire
                 to provide the highest quality and cost-effective care possible. I have
                 discussed your concerns with the practitioner involved in your care. I have
                 always suggested to students that if they are not happy with their care to let
                 us know and also that there are choices of practitioners at the Health
                 Center. If you would like follow-up care at the University Park Health
                 Center with another gynecologist, we would be happy to accommodate you.

                 As a gesture of om' concern that you paid twice for this problem, I have
                 asked our business office to credit your USC account the $65.25 that you
                 paid us. Ifyou have any further concerns, 1 woirld be happy to discuss
                 those with you.

                 Sincerely yours,



                Lawrence Neinstein, MD
                Associate Professor of Pediatrics and Medicine
                Executive Director
                University Park Health Center


                 LN/srp
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                                  #:4072




                 ee: Dr. TyndaD
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                                  #:4073




                          Tab 04
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                                  #:4074




                                 DATE:      May 12, 1997                                                 ? i
                                 TO:        Lany Neinstein, M. D., Executive Director
     UNiySRSlTY                  FROM;      George Tyndall, M.D., Staff Physician and Gynecologist •
    0FSOUTUER«                   RE;        Our meeting of May 9, 1997
     C.tUPORtJlA
                                 As alwaySi 1 enjoyed the opportunity to ei^age in sail another vvlde-ranglng
                                 private discussion llhe the one we had for about an hour on May 9. In
                                 partlcuter. I was glad that you showed me the comments that had been made by
                                 three students with regard to my practice style. During the weeks that the
                                 Student Satisfaction Survey (SSSJ was conducted. I was careful not to "spruce
                                 up” or otherwise alter In any way my usual manner of interacting with the
                                 students, precisely so I might team of any possible problems.
    USC-Univvfsiy Psric .
    HealOi Center                 As you know Isee “Mzud Bos Updat” in The Script of March 1997 in which a
                                  student states “What a great gentleman Dr. Tyndall Is. I re^ly enjoyed our
    Student HeaRh avi
                                  conversation.,..”! I nearly always attempt to engage njy patients In short
    Counseling 5.rfwices          conversations during their visits. I like to get to know niy patients personal^—
                                  what year they are in, what their major Is, what their career plans are, and so
                                  on. That is because I am a firm believer in the OPHC "core value" referred to in
                                . the UPHC Misslan Statement as the Mopsychosocmt approach to providing care.
                                llnfcjrtunateh?, based on Qie three comments that you shwved me on May 9, it
                                appears that not every singte one of all my many patients—past surveys have
                                shown that J see rocffe patients per month than most of ihe other practitionera—
                                Is necessarily happy with this approach. On the other hand, the vast majoiiiy of
                                my padents do appear to enjoy my personalized approach to care so, as I left
                                year office on May 9. the mess^e that I took with me is that perhaps I need to
                                im a bit more careful not to give patients the impression that, in the process of
                                conversing with thcasa, I have forgotten their needs, that is, that I have forgotten
                                the reason that th^ visited in the first place. Thank you for bringing this minor
                                problem of praetlee sfyte to my attentton.
                                My purpose in writtog to you now is that after our meeting 1 happened to
                                mention our discussion to Dr. Figatner. He asked me whether yon had informed
                                me that, a,s a result of these commeats about my style of practice, you were
                                intending to award me on July 1 a less than aoenige salary adjustment, dpon
                                hearing this, I was aghast.
                                As you kaOW, I wrote to you on May 7 to ask you for a larger fftan ctvetdge sabiy
                                adjustment on July 1 in reet^nltlon of the many fliian&l and other             and
                                sacrifices that I have nmde for you. the UPHC and the other practitioners over
                                the past year, as detailed in that May 7 letter. To suddenly team that you are
                                eonsideriag a lower than doemge adjustment merely tteeause a tiny fraction of
                            ■   my many patients do not hke      style of practice is no less tiian fiabbergasting.
                                To ray mind, a legitimate reasoa for awaT(hDg me a less than average salary
                                adjustment is that I have in some way seriously compromised a jatsenfs care.
                                For          about three weeks ago (as we discussed at the noontime Journal
                                Club meefing of April IS) I hel|ted to save the Me Of one of our Students, who
                                w^ literally bleeding to death- If as his primaiy jffiysician 1 had missed the
                                di^nosis of GI bleeding, then that would be a reason for an adverse action by
                                you against me. But no such serious compromi^ was demonstrated by you to
                                me at our meeting of May 9; on the contrary, only issues of s^!e were
                                presCTted.
                                Therefore, at your earliest convenience, please arrange another meethig at vdiicb
                                both the       comments and the medical charts of the diree patients that you
                                presented on May 9 are on hand. Then, we shall discuss in detail whether it
                                appears that the medical care of these patients was in any way compromised.

    Univotsity of               Would you kindly set aside an hour during the week of May 12 for such a
    Sauthem Cslifoi nia         dfocussion? Thank you.
    849 Utot Jttii Street
    Los ftrsgsies,
  - CaUtornia 90089-0311
    Tel-    3 740 S344
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   use
    l?NIV'ERSITY
                             Date;          May 07, 1997
   OF SOOTHESN               To;            Lawence S. Neiiistein, M. p.,Executive Director /
    CALIFORNIA               From;          George Raymond Tyndall, M.D., Staff Physician: -J
                             Subjects;      DWithdrawal of My Proposal for Reducti'on In      i Annual
                                            Hours (My Memo of February 11, 1997)
                                            2) the July 1, 1997, Salary Adjustment
                             As you know, I would like to do my part In helping to make the University Park
                             Health Center (UPHC) leaner and more efficient, especially if it will help to
                             prevent a hostile take-over by an outside organization, as we've discussed on
   USC-University Park       many occasions this pastyear. That is one reason why 1 submitted to you on
   Health Center
                             February 11a proposal for reduction In annual hours.
   Sraden! Health and        But since that time, new developments have taken place. Recently, I consisted
   Counseling Savkes         my tax adviser for the purpose of filing my annual taix return. At that timehe
                             Informed me that, because 1 will be losing some deductions, I need to reduce the
                             number of personal exemptions that 1 claim on my W-4 to be sure that I am
                             witholding enough income for next year’s tax bill.
                              This reduction in witholding exemptions has had a disastrous effect on my take-
                              home pay—so disastrous that now' it has become impossible to make ends meet
                              even M Hjy cuiTent full-time pay. This is especially true because of the fact that,
                              % accepting your call to work "flexible hours” InTleu of “overload hours” for
                            . extra compensation, I have Incurred a loss of some $10,000 per year. For these
                              reasons, I must hereby withdraw my February 11 proposal to reduce: my annual
                              hours to less than 100% of full time.
                              Further, because it has now become impossible to make ends meet even at full
                              pay, and because you will soon be deciding pay raises for the Upcoming year, I
                              wanted to remind you once again of the contributions and sacrifices that! have
                          . . made to help ensure smooth operations at the UPHC:
                             • from 1989 through 1996,1 alone of aU the pracHtioners accepted—for all 4
                               nights that we are open beyond 5 p.m.—the call of the Director to work
                            : overload
                             » since January of 1997, I alone of all the practitoners accepted—again, for all
                               four nights that we are open beyond 5 p.m.—your request for volunteers to
                               work flexible hours In lieu of overload; as adirect result ol this action on my
                               part, much dissension among the practitioners has been avoided (my
                               understanding is that, if there was a shortage of volunteers, you were
                               intending to simply assign the hours, wirether the practitioner(s} liked it or
                               hot and regardless of any family, ride-sharing or other obligations ffiat might
                               prevent hlm/them from working beyond 5 p.m.)
                            • then most recently, upon learning that, because of a shortage of practitioners,
                              it was unlikely that practitioners would be able to have 3-day weekends this
                              summer like all the UPHC employees have enjoyed for many years in the past,
                              I alone volunteered to work both Monday and Friday while taking my day off
                              during the middle of the week; as a result, ail the other practitioners have
                              gotten the schedules they’d requested and the dissenMon that would
                              otherwise surely have arisen has once again been avoided thanks to me.
                            As you contemplate the amount of my salary adjustment for July 1,1 will be
                            very pleased to learn that you do value the efforts and sacriflees that I have
                            made over the past years to maintain morale among tiie practitioners —so much
                            so that the result is an above-average salary adjustment.
  UAtvgnity of
  Sotiihem Californis:
  849 west 3«th .Street
  los Afigete,
  Caiitornia M«»9-03ii
  Tek 213 740 5344
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                                                                                          Vay
                                                                                          tax             Wr          CkusA
          1.      Ease of getting through to the petiwi m service ym wanted------ i                2       3           4
    m     2.      Courtesy and professionalism of pe^ who took ycwr call-------I                           3           4
                                                                                                                       4
          3.      AvaitaWiity of aaff to talk on tise f*one--------------------     1              2
    o     4.      How {ntanptly your cidls were rewsed----------- ;----------       t              2       3           4
    JZ    5.      Clarity of information given to you by the Advice Huwa —^               0.2              3           4
    :Q.
          Comments:      P-io'- yotwi MjjC^ 9oS€u.-—^(f»                                  ^CMLiiS lh)-0
    x:‘
                               S" MfiThA^ ,__
          t:!
                        C                    L%-> ykts/          gg ■ q. cLfai- -%AjiN^Cm^
   o                                                                                                                              'OitU


                                                                                                                                    Wo
                                                                                          ?aw             f>ir        Ooq4

          1.      How was your appointment made’K1 By Phone Dinpetson
          2.      Courtesy and helpfulness of person making your appointment                       2       3                  -
          3.      Ease of getting an appointment--------------------------------                   2       3                        (D
                  Courtesy and professiondism of personnel at the pMiettt
                  registration area (front desk)                                                   2       3           4
                  Speed of your visit tegistritioti at dse reception area — —                      2       3           4

          Comments;




                                                                                                                                   ■Wiy
                                                                                                                      C«i4         Com!
                 Courtesy ami piofesskmaiism ofperson taking ytJuf
                 temperature, blood pressure, weight, height, etc.------ ------            I                           4
                                                                                                                     (T)
                                                                                                                                   d)
                                                                                                                                    5
                 CorafsKtandpleasanto^sofwMttagKea                 ““                      I
                 Gourtesy-and profesaionalisra of inedicaj assistants or nurses
                 Concern medical assistants or nurses showed fiw y«HH problem—
                 Attention to your needs during treatment-----------------
                                                                                           i
                                                                                           1
                                                                                           1
                                                                                                                      %
                                                                                                                       4
                                                                                                                                   9 5
                 Helpfulness of education received regarding yom cae —                     t                           4             5
                 Respect and interest practitioner showed for your questions               I                           4             5
                 How clsariy did your practitioner explain your problem or
                 condition------------- --------------------- -----------------
                 ftactitioner’s eoncera to make your toeatesmit as convenient and
                                                                                           1                         'd)             5

                 comfortable as possible--------------—---------—                          I
                 Ad««5uacy of time ftie petitioner spent with ytm —                        I                           4
                                                                                                                       4
                                                                                                                                   CD
                                                                                                                                    5
                 Do you       your confidentialiiy was respected — -                       I
                 Qeanliness of patient ewe areas---------------- —                         1                          ® , 5
                 OveraS rating of treatmwif res»ivrf tom medical a^taate,
                 nurses and practititmers---- - --- -- -------------- -------- -           I                          €>             5
                 After yem were seen by the medical assistant, bow long was your
                 wait to see a practitioner ------------- --------------- -------------                          OtO-JOwto.

          Comments
          ^ 4gd; loHA                    ^                  fk jm
                                      km/>                       i         tjAJL

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                                          ma^ViMqs

                                          ^4 Mf,                               0a\^\
                 t
          ;     fo»
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                                                                                                         Vtty                                     Vtffy
                                                                                                         fwt                  Fair      dooi      Good
                                 Courtesy and professiionalisin of iirfiOfatory personnel — —              !         2         3          4         s
                                 Skill with which tests were taken {quick, little pain, eK.)------ I                 2         3          4         5
                                 Courtesy and professtatalistn of x-ray personnel— —                       1         2         3          4         5
                                 Ctouttesy and proBssiona^ism of pharmwqr petsoonrf or
                                 pharmacist----------—--------------— —-----------                        i          2         3          4        5
                                 Edacation/instructiotts mceived on inedic^on--------                     t          2:        3                   5
                                 Was your waiting time:
                                    Less than 10 mins, to have yow Wood drawn in die Lab —                Q                 □ no
                                    Less than 15 mins, to have your x-ray taken------           ~         DVes             .•O No
                                    Less than 30 mins, to haw your prescriptioB filled          -         DYes             '□No




                    Please rate the quality of service you received in each of the areas                 Vtey                                     Vtijr
                                                                                                         Foot      Fsor                 Good      dco^
                    whose services you used;
          mm        1.       Health Promotion and Prevention Services-------------                        1         2          3         4
                                                                                                                                         4
                                                                                                                                                   5
                                                                                                                                                   5
                             Physical Therapy----------------^ —- --------------------                    1         2          3
                             Medical Records Ifepartmeni-------—------------------                        1         2          3         4         5
                             Student Insurance Office ---- -------------- - -- -----—■                    1         2          3         4         5
                             The Measles Office----- ---------------— ‘----------                         1         2          3         4         5

                    Cotmtients:




                                                                                                         Ver,                                     Wty
                                How adequately w«e you informed of com ftom each                         fust                 Fait      Cotti     M
                                depamnent------------- -----------------------------------                1         2          3                   5
                                Ifyou had questions about a bill, of a chatgjs'you incurred,
                                how well were your questions answered------: -----------                  I         2          3         4         S
                                Courtesy of cashier----- - -- ------------- —:------------                1         2          3         4         5
                                                                                                       _ U»i*a« _            „           —Moittlm
                                How long was your wait for the cashier------ —---------              — G WiaisEM Q io.2a«»m. □ iB-Ssimn. O »®«m

                    Comments:




          m         1.          Decor Of Patot Cans Area---------------------------
                    2.          Ctmventcnce of officefcliaic hours ------------- - -
                                Adequacy of signs and direciioBS ----- --------------
          o         3.
                    4.          Likelihood of your recommending osir clinic to others
          Q£
                    5.          Overall satisfaction with your heWih t®n------
          o
  .   i..^ ,
                    Ctwanents:
                                                                A                                                         ^^ IaJ .4i3y...-4
                                                                                                                                                        ll

          ^     „        WJaat^’w asffijiteil Mt     plsBej»!»« ft h   iornsr i»«. For jtmtmittsmt. itart a* imtu i»Hs toc^ ila(w«j!oa»e« Ht*a CaatJ.
\j>s                                                                                 OP                         r T
      /       -Wlfl ar>A,5nuffi h.'«. i i                                   t                       (him —,)
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                                                                                        N^ry
                                                                                        ?00f

           1.     Ease of getting through to the person or service you wanted------ 1                2
                  Courtesy and profsssionaiistn of penon who leolt your call             1           2
                  Availability of staff to talk on the phone -----------------           1           2
                  How promptly yota- caBs were rotanied--------------------              i           I

                  Clarity of infonnafcn given to you by the Advice Hurse -               1           2

           Comments;




                                                                                        Poor     Poor               Good    Good
           }. .   How was your appointment matted           8y Phone Diopetswi
                  Courtesy and helpfulness of person making your appoiisanent-—          1           2     3                    S
                  Ease of gestisg an appointment--------------------- —                  I           2     3                    5
                  Courtesy art professionalism of personnel at the patient
                  registwiion area (front desk)------- -- -----------------              1           2     3         4
          5.      Speed of your visit registration at the reception auea —               !           2     3         4

          Comments;




                                                                                       v«r                                 ■Wn.
                                                                                                 ?IKX      Wr       0«ii
          1.      Courte^ and ptofesskmalism of pason rtdng ymit
                  tempeatore, biood pressure, weight, bei^ ets,—                        I            2     3         4
                  Comfort art pleasantness of waiting area                              I            2     3         4
                  Couttesy-mtd proteuonaiismofnredttrt assistants or nurses—^           I            2     3         4
                  Concern medical assistants or nurses showed for your preblem                       2     3         4
                  Attertcn to yot» needs duiiag treating                                             2     3         4
                  Helpfulness of educadon received teirtrfiBg yew es»e — ^                           2     3         4
                  Respect art imerest {K^rition^ ritowrt for your questions —                        2     3         4
                  How clearly did your practitioner esplmn yottr problem or
                  condition------------------------------------------------ -------*                 2     3         4      5
                  Rtactidoaer’s concetn to make your ttemment as convenient and
                  comfwtate mi possible — — — — — — —                        —                       2     3         4      5
                  Adetpiacy of dme tte prarttioner sp«« wWi you ~ --------                           2     3         4      5
                  Do you fed your confidentialuy was respectrt-------------                          2     3         4      S
                  Cleanliness of patrenl care areas------------- -------                 1                 3         4      5
                  Ovreall raring of treatment received from mescal assistants,
                  BUWK arid practitioaers---- - — _ — ------------------                 1                 3         4      S
                  After ytm were seen by the medicid assistant, how long was your
                  wait to see a p^^ririonw —                                                   ^__                ______
                                                                                                                DaMSaiBi. Ds#

          Comments;                                                                            rC; pr.                              )

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          QmM ipS ak(Lt I 'fhrjxJ?dfn^       mi(MU>
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    /   •'I /u        n/v\ d            nAO A/(A i ^                         n                           Qyvn 0 'ti'X ir\               .
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                                                      4^                               Vh,
                                                                                       PWf    Foot   Fat
                                                                                                                   Vejy


                Ease of geuing through to the person or service you wanted                     2     3
         !.
                Courtesy and professionalism of person who took your call — —                  2     3
                Availability of staff to talk on the phone-------------- -   '                 2     3
                How promptly your calls were returned------------;         '                   2     3
                Clarity of information given to you by the Advice Nurse — —                    2     3


         Comments:




                                                                                                                   y«y

                How was your appointment                  By Phone Dinperson
              , Courtesy and helpfuhess of person making your appoititatem—
                Ease of getting an appointment------- -- -------------------------
                Courtesy and ptofessionalism of personnel at the patient
                registration area {{font desk)---------- ---------------------------
                Speed of your visit registration at the reMption area — — —

         Comments:




                                                                                                                   Ver
                                                                                       Poor   P90f   FaU   C«iii
                Courtesy and professionalism of person taking yom
                                                                                        1      2      3     4
                femperahirs, blood pressure, weight, height, etc.—
                                                                                        1      2      3     4
                Comfort and pleasantness of waiting area
                Courtesy-and professionalism of medical assistants or ntffses           I      2      3     4
                Concern medico assisCants or nurses showed for your prdslem —                  2      3     4
                Attention to your needs during treatment ——-------- -------                    2      3     4
                Helpftili»ss of educationwreivedregartShg your care----- - —                   2      3     4
                Respect and interest practitioner showed for your quesfions---- v       1      2      3     4
                How clearly did your practitionereaplain yoisr prob!^ or          '
                condition — ------ ----------------------------------------------
                Ptactitioaet's cooc«n to make your treatment as convenient and   r€) ^  1       2
                                                                                                      3

                                                                                                      3
                                                                                                            4

                                                                                                            4
                                                                                                                     5

                                                                                                                     5
                comfortable as possible------------------------------------
                Adequacy of timei the practitioner spent widt you —----------                   2     3     4        5
                Do jmu feel your ecmffdentialiiy was respected —r ---------—                    2     3     4        5
                aeanliaess of patient cme areas------------ — -------------- —          1             3     4        5
                Overall rating of t^tment received from medical as^tane,
                                                                                        I             3     4        5
                mus^ahdpcactitionms---- ^------- -----------------------------
                After you were seen by the medical assbtant, how long was your
                wmi to see a practitionei

         Comments:


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                                                                                              gj/i pA/i^
     t                                                                                  )k'rj.^A 'ck'A^ n AAk jiTxrA
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                                                                                                                                         \tiy
                                                                                           fast            fom       Mt     om           Coca
           !.         Courtesy and paifesstonatism of laboratory personnel —         I                         I       3     4                3
      >                                                                             I                          2       3     4                S
    I O   2.          SWi! with which leas were t^n (qaick. little pain, etc.)
                      Courtesy and ptofessioisalisni of x-tay personnel------ -     1                          2       3     4                5
                      Courtesy and ptofeKionalism of {dwnnacy peRonnel or
                      plsarreacists -------------------------------------------     1                          2      3      4            5
                      Educsaton/inslructions received on medication---------        I                          2      3      4            5
                      Was your wmting time:
                         Less tftan 10 mins, to have your blood drawn in the Lab — D Yes                            O No
                         Less than 15 mins, to have your x-ray taken            - - □ Yes                             No
                         Less than 30 mins, to have ywir prescription filled — — □ Yes                             ’O No


                                                  .ad



          Please ra» thequaiity of service you received in eadt of iheareas                V«y                                          VMy
                                                                                           Poof            Poor      Fair   Cood        Good
     to   whose services you used:
     m     1.      Health Promotion and Prevendon Services — — — —                             1               2      3     4             s
     o    t.       Physical TTiefapy — —-----------------------------------                    1               2      3     4             5
          3.       Medical Record I3epa«ment-------------------- -------                       I               2      3     4             5
                                                                                                                      3      4            5
     m    4.
          5.
                   Student lasufMce Office--------- — ---------------
                      Tlie Measles Office-------------- -------------- ---------- «-
                                                                                               1
                                                                                               1
                                                                                                               2
                                                                                                               2      3      4            5-

          Comments:




                                                                                                                                         Very
                      How adt^uateiy were you informed of costs firom each                 Poor            pa«              Good
                      deparmieitt--------- - --------------- --------------- - -               I               2      3      4
                      If you had questions abotd a bill, or a t^ai^e you inctinred,
                      bow well were yoitf qu^tions answered——^ ^ ------                        I               2      3      4
                      Courted of cashier--------- —--- ---------- —----------                  1               2      3      4            5,
                                                                                                   1^433                           " ' "!t£
                      How long was your wait few die easier-------------------             O tOBimoa O IS-aiiaiio. Q ifrilloiwl, O Kmamt




                                                                                                                                        Vfcry
                                                                                           Poof            Po«       Wr     0004        GooS
                     Decor ^Patient Care.Atea--------------------------                        1               2      3      4
                     Convenience of office/clinic hours             —-                         1               2      3      4
                     AdequKiy of signs and directions------------ _ _.                         1               2      3     4
                     Likelihood of your recomtnmtding ourclinie to others —                                 2         3     4
                     Ovmll satisfaction wi^ your health care                               | j             2          3     4            5

               __Cg/na
          Comments;                                     iapaMl/i                                    (OmdMjnM

                                                                                       .fiiUMld—k3dJ_-m
                Wiwiiyoa'wcDinpkaeeiiiwivei'.pfa^ptKcaaiboiwwo'twt. fWiiosrc9!>n0«ioc.thBe
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           Hsi- \Af,. 1 li #i/ / fA iA Pi .fs/'ftP                                     a 1 a
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                                                                                             Poor      Poor                   Good       Cbod
           I,          Courtesy and professionatism of laboratpry persoftnel —
                       Skill widi which tests were tstea (quick, IWe paia, etc.)—
                       Courtesy and professionalism of x-ray personnel-----------
                                                                                  I
                                                                                  i
                                                                                  !
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                                                                                        2
                                                                                        2
                                                                                                                 ^ d)
                                                                                                                   3           4
                                                                                                                                            5
                                                                                                                                            5
                                                                                                                                            5
                       Courtesy and professionalistn of pharmacy porsonnel or
                       phartnacists — —------------- — — —--------------—         t     2                         ■3           4            5
                       Education/insftuctions received on medication — — —        1     2                                      4            5
                       Was your wrutitig time:
                          Less than 10 mins, to fwve your blood drawn in the Lab                               ONo
                          Less than 15 mins, to have your x-ray taken------ - — — D Yes                       :□ No
                          Less than 30 mins, to have yourprescrmtion fiUed —      S^es                        '□No


                   rm(L                                   mm              MdUJM^
                                                             C<%0UA^,                                  ^>eny
          Please rate the qu^tiy of service you received in each of the areas               Vay                                         'kiy
                                                                                            Poof                             Oxnt       Cowl
    <A
          whose services you used;
    m
    o
          1.       Healft ftommiort and Prevention Services-------------                      1         2         3           4             5
          2.       Physiciri Therapy ^------------                                            i         2         3           4             S
          3. , Medtcdi Records Departmenr                                                     I         2         3           4             5
                   Student Insurance Office                                                   1         2         3           4             5
    Q>
   "to-   5,       The Measles Office-----                                                    1         2         3           4             5   ,

          Comments:
    x:
    O

                                                                                            ■Wo                                         vtty
                      How adequately were you informed of c<»ts ftom each                   Peer      ^)Of

                      deparmieat— —----- — - ----- — —« — — — —                               I         2                     4             5
                      If you h«i questions about a bill, or a charge'you intnitred,
                      how weii were your questions answered
                      C«w»y of cashi«'--------------------                                - 1
                                                                                              1         2
                                                                                                        'i
                                                                                                               Q
                                                                                                               3
                                                                                                                 ^
                                                                                                                 {4}
                                                                                                                                            5
                                                                                                                                            5
                      How long was your wat fi>f the cashier-                               Qlimimaa O                 □ 2U 3t)QVi«. □ la

          Cmmsnts:




                                                                                            Poor      Poor       Par                    Ooed
    O)    L           Decor of Patient Care A«a ——                                                      2         3                         5
                      Convenience of offlce/cIWc hours                                       I          2         3                         S
                      Adequacy of signs and directions -                                     I
    o     4.          Likelilmod of y«if recommeotfing osm clinic to others —
                                                                                                        2         3
                                                                                                                  3
                                                                                                                                     * ■' 5
                                                                                                                                         5
   O'                                                                                        I         2
          5.          Overall satis&ction with your health cam---------------                !         2          3           4          5
    o
          Comments:
   U.



                Whee yoave oKt^teet adi sarwy.      a in <(» ««W)r a«,: rw jaiiircMotaaa!*. »«»«* tamjr boas towed ewK^KiB (M Hows CtuKt
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                                                                                       PtKW    Poor      Fair
          1.      Eaie of getting through to the person or service you wanted------             2         3        4
                  Courtesy and professionalism of person who took your call------               2      CD          4
                  Avaiiatiiiityofstaff to talk on the phone-------------------------            2       3         {£>      5
                  How promptly your calls were relumed                                          2         3        4
                  Clarity of informatitm given to you by the Advice Nurse —                   , 2         3
                                                                                                                  6>
          Comments:




                                                                                                        Fair      Good    Coed

    C     1.      How was yot»^pointtnem made? S^yWiane Dinperson
    o     2.    . Courtesy and telpfulness of person making yoiff ^pomtment             I       2       ©          4       5
                                                                                                                           s
    a
          3.
          4.
                  Ease of getting an ^pointmeat------- —          ------ -------—
                  Courtesy and professionalism of peisonoel at the patient
                                                                                        1       2         3
                                                                                                                  0
                  registration ama (front desk)----------------------------------       I       2                  4       5
          5.      Speed of your visit regisiration at the reception area — —            !       2                  4       5
    C3)
    Q>    Comments;
   €S£
    m

    a
    •*>

                                                                                       Vcy                                •W»y
                                                                                       Foot    I><»r    Fair      Oood     Cood
                 Courtesy and professionalism of person ^ng your
                 temperature, blood pressufe, weight, height, etc.-------------- — 1              2               4        5
                 Comfort and pleasantness of waiting area                           — 1           2               4        5
                 Courtesy and professionalism of medical assistants or nurses—          1         2               4        5
                 Concern medical assistants of nurses showed for your problem           1         2               4       5
                 Attention to your needs during treatment —----------- -------          I         2               4       5
                 Helpfulness ofeducation received regaiding your care — —               I         2               4       5
                 Respect and interest practitioner showed for your questions —          1         2               4        5
                 How cleariy did yonr practitioner explain yotir problem or
                 condition —-------------------------------— ^ ------ - ------          I         2     •0 ‘4              5
                 Prwtificatefs concern to make your treasnent as convenient and
                 comfortable aspossible------ --------------- ------------ ------ 1
                 Adequacy of time tfie practitioner spent widi yoa —------—             1
                                                                                                  2
                                                                                                  2
                                                                                                                  ©
                                                                                                                  4
                                                                                                                           5
                                                                                                                           5
                 Do you feel your confidentiality was respecteJ — — — —— I                        2               4        5

          13.
                 Cieatiinessofpatient rare areas — —-------------------------- 1
                 Overall rating of treatment received fitsra medical assistants,
                                                                                                  2    0          4        5

                 nurses and practitioners----^ ------- —------------------------ 1                2      £)       4 ■ 5
          14.    After you were seen by the medical assistant, how long was your           ImHaa
                 wait to see a practitioner------------------------------- - -- ------ O ISniditMf Pll^amm.f71m-30«lm. Q JOiontum

          Comments
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          /v*nn- OvuMMdb aLsAurry Aodh                                                                          dxdynt
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                                                                                     ytcf
                                                                                     ?oor   Ptm                   OooS      Good
              Ease of getting through to the person or service you wanted              I      2           3        4
              Courtesy and professionaiam of person who toot your call                 I      2           3       A"
              Availsdjiiityofstaffto crik on the phone------------------               1      2           3        4
           ■: How promfriy your caiis were tettsmed--------------------                1      2           3
              Clarity of infotmtion given to you by the Advice Nurse — —               1    . 2           3        4        -S"
                                                                     /
       Cwnments:
                                                                                 y
                                                                                                   • ;
                                                                            •=

                                                                                     \fey                                   'fey
                                                                                     Poof   ft&t         Faur    Good
               How was your appointment made? j3'By Phone D Inperson
               Couitssy and heipfaJness of person m^ng your appoiooneia               I      2            3       4
               Ease of getting an appointment------- —         --------- --------     1      2            3:      4
               Coiatesy and professionalism of personnel at dte patient
               registewton area (ftoot desk)------------- ---------------- -—         I      2            3       4
               Speed of your visit registration at die reception area — —             1      2            3       4

       Conanents:




                                                                                     Vtoy
                                                                                Fob         Pot          Fair
            Courtesy and iHofesstonalism of person taking your ■
            temperature, blood pressure, wei^t, hei^t, etc.------                I          2            3
            Comfort and pleasantness of wMttng area               ”              I          2            3
       3. . Courtesy suKl professionaJisTO of medical assistants ta-nurses----- X           2            3
            ConcKTt ined&tel assistams or nurses stowed for yonf problem — 1                2            3
            Attenrion to your needs daring aeatmeat                              1          2            3
            Helpfulness ofeducaiion received regarding y<«ir care-----------t               2            3
            Respect and interest prtKtitiotier showed for yotar questions----- t            2            3
            How cieariy did your pfactitioner explain your problem or
            cotoWon-------------------------------------------------------       I          2             3
       9. ' Practitioner's concern to make your beatmetit as ewivenient and
            comfortable as possible -- -- -- - --- - -- --- ------------ 1                  2             3       4      . s')
       10.  Adequacy of rime the iHaciirioner spent wto you ----------           1          2             3
                                                                                                                '--4
       11.  Do you feel your ctofidentiality w^ reinjected------------------ 1              2             3
       12.  Cleairiiness ofparicBt CSBS areas — ----------------------------- I             2             3       4       <S>
       13.  OvMsdl raring of tteatmew received from medical assistants,
            nuwes arid ptatutfonets---- - — — '— ~ — ” — —                       I          2             3
       14.  Afto you were seen by the metrical assistant, how long was your
                                                                                                                         rn*™
            waittosecaw^tionw-----------------------------------------                                                   Li»-

       Commencs:               •T'




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                          Tab 05
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        Date: September 15,1997
        To:    George Tyndall M.D.
        From: Lawrence Neinstein M.D.
        Regarding: multiple memos

        Regarding your request about comments from patients. I have always had the philosophy
        and al ways will to getas much feedback from patients to all staff as possible. Comments,
        compliments and concerns that 1 receive from students are given to involved staff.

       Regarding             As I mentioned I have already explained to her that ultrasounds are
       not always needed in the case of ovarian cysts and that the presence of ovarian cysts are
       not necessarily correlated to abdominal pam. I always explain to students that our
       practitioners are working to provide them with the best care possible. However, I also
       always explain to them, that if they are not satisfied with their individual practitioner,
       then they are free to choose another practitioner on staff. One possible approach that may
       have facilitated less negative response from this stiwlent was in the method of referring to
       Dr. Mandel. Another statement may have been: “I understand that you would like to
       obtain an ultrasotmd and I appreciate your knowledge of your condition, however, I
       would like to refer you to Dr. Mandel to get another opinion regarding the need for an
       ultrasound. In addition, this approach may be able to save you money." Rather than
       “you should not demand” which might put certain students on the defensive, this other
       approach might validate the student’s feelings and opinions.

       George, I did not mention this patient to predominantly discuss the validity or lack of
       validity of her Complaint. This was a very upset student. That was real and her feelings
       were real. l am looking for other approaches whenever situations like this arise to help
       facOitate communication with students who may he more difficult to deal with.

       Regarding
       Comparisons between hitth control pills are very difficult to make because precise studies
       that have randomized them all have never been done. Even the comparison sheet that
       you attached states that “these rates are derived from separate studies conducted by
       different investigators in several population groups, and therefore, a precise comparison
       cannot be made”. The estrogenic content of 0/N 7/7/7 and 0/N 10/11 is an identical 35
       micrograms. The progestational component b slightly higher in 0/N 10/11 giving rise to
       the slightly higher endometrial activity of 0/N 10/11. However, this is all academic. The
       reality is that in most of the newer second and third generation pills there is no exact
       rhyme or reason for one pill leading to BTB and another not. I have seen many, many
       women who have BTB resolve when they switch from one pill to another, regardless of
       dose. The BTB rates are related to not just estrogen activity, but progestational activity
       and the relative amounts ofboth. These are also related to the type of estrogen, mestranol
       versus ethinyl estradiol. Mestranol is converted at about a 7Q% rate so that 50
       micrograms of mestranol is equal to about 35 of EE. In addition, each woman
       metabolizes these compounds differently.
                I have enclosed the chapter from my book on OCPS that Anita Nelson and I have
       written than summarizes my thoughts on this topic. In addition. I have included the
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       chapter from my book on contraception and women with chronic illness on cardiac
       problems as well as the index. If other chapters are of interest to you, let me know.
                 w'ould agree diat OCPs are not contraindicated in           My concern with
       ■^Bis whether she needs OCPs with her elevated cholesterol when she is not sexuaUy
       active and not in the need of contraception. While she may very well prefer to stay on
       OCPs for other reasons, this is not an unreasonable conversation to have with her. In
       addition, the best OCPs regarding lipids at the moment contain either norgestimate or
       desogestrel. This is also a consideration in further deciding her OCP choice.

       Regarding active problem list; 1 have mentioned at multiple times in past two years that
       we need to implement some type of active problem list. I appreciate your suggestion and
       think this needs to he discussed at a practitioner meeting to decide on the best method to
       do this until the information system allows us to record this.

       Regarding by laws; I will try to get these together this week and get xeroxed to you.
       Thanks for your input.
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                          Tab 06
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                      LPHC PATIENT SATISFACTIOM SURETY 1998
                                 PRACTITIONERS
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       While tlie care I have received here lias in general been good, I had a very insetting experience tet year
       tiial I would like to mentiou. I came in witli a concera about a lower abdominal pain that I thou^t was
       gynecblogically-relaled. I was first treated with sensitivity and coneetn by a practitioner. This piactition^
       referred me to another doctor here at the clinic, Althongh I prefer to see only female dDCtors this individual
       proceeded to alann me extremely about die worst case scenario of my symptom (which I ttidy believe was
       me anally aswell. This was essentially a shocking, invasive procedure tliat upset me extremely for the next
       few days" Please, please, please [nndeflined] impress upon the doctors that any genital exmn is an
       extremely sensitive procedure, psychologically as well as physically. I whs shocked at me treatment and
       too near tears to diamss tins with die doctor at that time. My care here otherwise has beCn fine, but I am
       relieved to have the opportunity to mention this finally.
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      While the care I have received here has in general been good, 1 had a very upsetting experience
      last year that I would like to mention. I came in with a concern about a lower abdominal pain
      that I thought was gynecologicaUy-related. I was first treated with sensitivity and concern by a
      female practitioner. She was concerned about one symptom I had, and referred me to a male
      doctor here at the clinic for internal medicine. Although I prefer to see only female doctors for
      gyn. exams. He proceeded to alarm me extremely about the worst case scenario of my
      s5nnptom (which I truly believe was jjust stress-related). Then during a gynecology exam, he
      suddenly, unaimounced, examined me anally as well. This was essentially a shocking, invasive
      procedure that upset me extremely for the next few days. Please, please, please [underlined]
      impress upon the doctors that any genital exam is an extremely sensitive procedure,
      psychologically as well as physically. I was shocked at me treatment and too near tears to
      discuss this with the doctor at that time. My care here otherwise has been fine, but I am
      relieved to have the opportunity to mention this finally.
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                          Tab 07
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                                    #:4092



From:              Tamrrte AkiyosW <aRiyoshi6rcf.usc.edu>
To:                Lawrence I'temstein <nelnstei@rcf.usc.edij>
Sent:
Subject:           Re: upset student


La t ry ,
I spoke with Sona, Summer, Corinne and Bernie, Susie is not here today.
Sona took the advice call. She took all the inforitiation and conferred
with Dr. Walker who was in ACC. 0r. Tynidall was at lunch so the options
were to come to ACC or wait for Dr. Tyndall to return. She placed the
message on Dr. Tyndall's door to call ASAp and told Morlina to help expedite. Dr.Tyndall
 (who usually dictates)still had the chart so all they had to go by was what the boyfriend
was saying. The boyfriend called back and told Summer "I will give you one minute to give
me a doctor and that is someone with a PhD" Stanmer then got Corinne who caught Bernie in
the hallway. Bernie took the call and asked hi.m to bring his: girlfriend to .ACC. They
presented within minutes and Dt; Walker saw the student in ACC. This is when          asked
for directions to ycur office.
Did anyone confer with Dr. Tyndall after he returned from lunch      I don't know.
Do we have a mechanism for coverage for a MD who is out - yes when they are
out for a day, not for hours (lunch or meetingl If needed, ACC who was
consulted in this case.
.At no point did anyone talk to the patient until she presented in ACC.
Sculd someone prescribe Pyridium over the phone by verbal history only - when
Dr. Tyndall will be back in an hour?

Taiffiflie
.At 03:58 PM 4/14/98 -Q7C0, you wrote:
>I talked with a :stMdent this afternoon nanwd _______________ He was
>teferr:ed by Bernie because he was quite upset yesterday. He came with his
>girifriend yestsrday because of seye;re Wtl. She was treated in .AM but only
>given antibiotics and not Pyridium. She continued to have severe pain in
 >her room, boyfriend tried to reach the MD but was told no MD could talk
 >wit:h him until afternoon. I believe he spoke with Suimoer, Corrine, Susie
 >and Bernie. I am a little uncl:eaE why a practitioner could not get on the
 >phone at some point and perhaps prescribe pyridium, even if the original
>practitioner was not here. Any thoughts?
 >Larry
 >
>:Lawrence Keinstein M.D.
 >Executive Director
 >USC University Park Health Center
 ^Associate Profe3So:r of Pediatries and Medicine
 >USG School of Medicine
 >
 >
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                          Tab 08
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    From:
    To:                neinstei@almaak.usc.edu
    Sent:              10/19/1998 12:13:44 AM
    Subject:           Re: Not receiving call backs


Dear Pr. N:elnstein~

Wow, I am so impressed that you did get back to me—and so quickly. Last
year your assistant suggested I email you about a concern I had, saying
that you read all your email and were very conscientous. You have proved
her right.

I want to tell you some of the people on your staff are supportive and
responsive. I'm sorry I did not think to mention that during my first
correspondance. The advice nurse, Suri Gomes, was very helpful during a
crisis I had last year;, and was vfilling to spend some time on the phone
with me to direct me toward help. The nurses upstairs that take your
blood pressure, etc. are all just excellent. They seem to put the
patients first, they are sympathetic and nonjudgemental, and have made me
feel comfortable when I was nervous,

In addition, I have never had to wait an undue length of time to be seen
by any of the doctors. That, itself, is a feat in this medical world.
Dr. Walker has always been very helpful when I have had an appointment
with her. She is thoro:ugh in her exam and questions and she takes the
time to explain to me vjhafe is happening. In fact, she explained to me
that all migraine medications do not help all people & that we may have
to experiment to find the best for me.

I appreciate all that you have done to make the clinic operate this
smoothly. Tharik you for your prompt response to my problems.

Sincerely^




On Sun, IS Oct 199B 10:«:42 -0700 C?DT) Lawrence Weinstein
<neinsteiialraaak.use.edu> writes:
>We are committed to getting back to students on a timely manner and
>are
>working hard to redo our telephone and communications systems. I
>apologise
>for the difficulty you have had. I will, forward your insurance
>concern to
>Cathy Defrancesc.o our associate director for administration and also
>insurance coordinator and will see if she can help with your first
>issua. I
>T5Tir'al-scrfomara- yourVme'ssagg WT)rY'^TyhUari“ana-~irf^            ----------
>first
>and second issues to help facilitate this.
>Agai:n my apology.
>Dr. Neinstein
>
>
>At 10:06 PM 10/16/93 -0700, you wrote:
»
»0ear Dr. Neinstein:
»
»Incident #1
»i called an advice nurse to request that Dr. Tyndall, Dr. Price or
>Dr.
»Walfcer write a letter to Chickering Insurance telling them that the
»Sstrace t Provera that they have prescribed is for Hormone Therapy,
>not
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                                   #:4095


>>birth control.
>>
>>She connected me to an answering machine to leave a message for Dr.
>>Tyndall. I did that about 3 weeks ago. I never received a call
>back. I
»did leave my telephone number.
»
»I called 5 or so days later to check, left another message. Still no
»call back.
»
»3ince I am nervous that Chickering won’t pay since they are no longer
>our
>>lnsurance company, I call the Business S Personnel listing
>(740-0242).
>>Middle of the day but no one answered the phone, but I left a
>mes3ag;e,
>>incl«dinf my id i & tel. #.
>>
>>No call back a/o today (Oct 16). Called again & left a message, I
>think.
>> The answering machine does not identify the department, nor say why
>no
»one is answering the phone.
»
»Incident #2
»I also called last Friday with a terrible migraine & left a message
>ori
>>the advice nurse's answering nachine if she would please ask Dr.
>Walker
»if she could call a different migraine medication into my drugstore,
»sinee the Midrin (she had prescribed months earlier) had not worked
>£or
»lfte. I left ray tel, nuitijer & probably my id # 4 the drugstore #. I
»:never received a call back from the nurse or the doctor.
»
»Is there any policy about returning students phone calls? This is so
»very different from any e.xperience I’ve had with other doctors.
»
>>Can I expect to be called or etaailed about either one of these
>matters?
»




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                          Tab 09
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                                    #:4097



 From:                 Susan Biddlecomb
 To:                   wleavitt; neinstei
 CC:                   saakian; defrarce
 Sent:                 3/9/1999 8:49:53 PM
 Subject:              clinician issue


Larry and Bill,

There is an issue Eric and I would like you to bring up with the
clinicians. We do not feel comfortable doing computer support in a
clinician's office when a patient is present for an appointment. There are
a couple of clinicians who call us in under those circumstances, and one in
particular who insists on Eric going in even when Eric has told him that
this is uneomfprtable for him. As a side Issue, there was a situation
today where this clinician forced Eric into a situation where he had to
either argue about the appropriateness of coming in in front of the patient
or just come in even though he was uncomfortable. Eric chose to do the
latter {which I think was a good callj, but then he found something that
made him even more uncomfortable, which is that the clinician was
demonstrating a Pyramed problem to the patient in a way that let the
patient see the entire clinical workplace (other patients with appointments
and their complaint/reason for that visit!). This seems like a big
confidentiality problem to me (especially for the clinician to show it to
the patient).

What I would ask of you is:

1 - If Eric and I are wrong about not wanting to do computer support while
a patient is present, let me know. I think it is different from calling an
MA. in because that is clinical support and the MA’s relate to the patients
in the clinical context. But, I could be wrong.

2 - Address with the clinicians as a group the issues of whether
appropriate to call in computer support v<,'ith a patient there and the
appropriateness of showing the patient the complaint/reason for visit of
other patients. The former issue has come up with more than one clinician
although it mainly comes up with one particular one, A reminder to the
others will hot hurt.

3 - Address the issues specifically with Dr. Tyndall (the one in question).

If I'm out of line lii asking for this, please let me know.

Thanks
Susan

Susan Biddlecomb Phone: {213)740-8312
Director of Information Systems fax: (213)740-0214
University of Southern California E-Mail: biddleco@usc.edu Student
Health -&-17o-aniseiimg -Sexv± aes —.............. ......... ..... ...... .. —
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                                     #:4098



  From:                          Lawrence Neinstein
  To:                            'Susan Biddlecomb'
  Sent:                          3/9/1999 9:07:50 PM
  Subject:                       Re: clinician issue



 diis soiuKis appropriate i will bring ip
 larrv

 At 12:49 PM 3/9/99 -0800. you role:
>Ljirry and Bill.
>
>TIere is an issue Eric and I would like you to bring up witii the
>cliiicians. We do not feel cotnfoffcibIe doing coirputer siqsport in a
>eliiiiciaiis office when a patient is presert for an appointnKia, TlEre are
>a couple of clinicians wto call ns in under tlose circmnstances. and oi« hi
>particnliirA\ lH) insists on Eric going in even wten Eric lias told Mnidiat
>diis is Uncomfoitable for him. As a side isaie. tiere was a sitiiation
>today n liere tliis clinician forced Eric into a situation wlere tehad to
>eitlEr argue aboitf die appropriateness of coniiig in in front of tlK patient
>or jnst come in even though Ib w as tUKonifortablc. Eric ctose to do flic
>latter {wiii,ch 1 diij* was a^od call), but d^n lie foiuid soniediiig diat
>iiiade liiiii even more imcontfortable. w hichis dat die cli nician was
:^en»nslratii^ a Pyramed problem to ti» patient in a w ay dat let the
>patient see die entire clinical workplace (odBr patients with appoiutiiieias
>8Hd dieir complahit/reason for that visit!). nssseenB like a big
>conrideiitialih-problem to to (espeeially for tlic clinicianto show it to
>tte patient).
>
>Wlat I woirfd asfcofyou is:
>
>1 - If Eric airi I are w roi^ about not w anting to do conputer sitpport while
>a patienl is present, let ine know. I dink it is differcrt from callii® an
>MA iiibecaiBe dat is clinical siippDrt atd theMA's reiate to the patieihs
>in die cliiical conte.vt But I could be wroi^
>
>2 - Address-widi He cliiudans as a groip dE issues of wlEdEr
>appropriafe to call in conqiiiter sipport w rtii a patiert dEre aid dE
>appropriateness of slewing (he patient He conplaint/reasou for visit of
>otiEr patients. TIe former issue has coiie w ith n»re dan oie cliiHcian
>althoiigliit naiiiy conss ip w idioiE particular oie. .4 reminder to tlE
>odErs will not Iturt.
>
>3 - Address dE issiES specifically widiDr. Tyndall (ds one in question).
>If I'm out of line in asking for tliis. please let me kiBw.
>
>TlBnks
>Snsan
>
>SusaiiBiddleconfc PhoiE: (213)740-8312
>pirector of htfornatioii Systems Fax: (213)740-0214
>tjniversi W of SoutlBm Califonia B-frfriil: biddlecofrnsc.edii Studert
>Hcaldi& Counseling Senices
>
>
>
Lawrence NeiiBteinMD.
Executive Director
use Umversity Park Healdi Center
Associate Professor of Pediatrics aid Medici lE
use ScIboI ofMediciiE
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                          Tab 10
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                                                        ~~ tt.,
                                                  #:4100


ThO StudeCealth Center is J       rested in providi~~                    {   11.        How satisfied were you with your encounter;.ith the
possible medical care during our years at USC. The following                            medical practitioner?             .I        ·
questionnaire will help us identi what you think we are doing well and                  (        ) Very Satisfied                          (         ) Satisfied                    ( V ) Dissatisfied
where we need to improve your c

1.     Overall, how satisfied were you with your visit at the                12.        Did the practitioner:
       Student Health Cente ?                                                           Pay attention to your concerns and worries?                                                            ®
2•
       (    ) Very Satisfied

       How satisfied were yo
       system?
       (    ) Very Satisfied
                               (



                               (
                                     ) Satisfied



                                   Jj ) Satisfied
                                                    ( ") Dissatisfied

                                      with the appointment
                                                    (   ) Dissatisfied
                                                                                        Infonn you about your problem or disease?
                                                                                        Explain procedures and treatment?
                                                                                        Instruct you about your continuing care?
                                                                                        Introduce him or herself?
                                                                                                                                                                                               YES


                                                                                                                                                                                               ®
                                                                                                                                                                                                YES
                                                                                                                                                                                                YES                       I  NO

_3 .   How satisfied were
       (    ) Very Satisfied
                               y( Jy    with the sign-in process?
                                   r,/ ) Satisfied (   ) Dissatisfied
                                                                             Thank you for taking the time to evaluate our performance. If you
                                                                             would like to further describe your experiences with us, would you
                                                                             please do so below. If you have special concerns you would like to
4.     How satisfied were y u with your encounter with the                   discuss, please leave your name, telephone number, date and time of
       medical assistants in oom 100 or 215?                                 your visit, and the best time to contact you.
       ·(   ) Very Satisfied   (     ) Satisfied    (   ) Dissatisfied
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5•           atisfied were Y<>i       with your encot


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       How satisfied were yol with your encounter with the
       Laboratory? .                      J                                            'Vo , '>C             + ~...;o ( s:c.-                             :\ ~ (- ___·fr It ,.-, d S c J                            ,,, !,,6,-'
       (    ) Very Satisfied   (     ) Satisfied    (   ) Dissatjsfied                                                                                    t'

7.     How satisfied were yoµ with your encounter with the                    \Al·\~\,,.,    ~l--.c..,       5:pe·              nrc),.,y ,,,
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       Pharmacy?
       (    ) Very Satisfied   ( I ) Satisfied      (   ) Dissatisfied             (,\I'\~         ~ e\               :be£.-                VIO '-"',          '"J       C(.'lt ~ - -~- f v ( ,-~.                v-"' \-"
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8.     How satisfied were yoµ with your encounter with the                                                              1       ,\ ~ -
                                                                                                                                                                                                k: -                   ·-
       X-Ray Department?
       (    ) Very Satisfied   ( I ) Satisfied      (   ) Dissatisfied

9.     How satisfied were yoµ with your encounter with                                                                                                        Time to call:
       Physical Therapy?
       (    ) Very Satisfied   ( I ) Satisfied      (   ) Dissatisfied       Once completed, please fold and drop into the suggestion box
                                                                             located on the wall, next to the reception desk, in the main
1 0.   How satisfied were yo~ with your encounter with the                   lobby of the Student Health Center.
       Ca~hier?
       ( V) Very Satisfied     ( I ) Satisfied      (   ) Dissatisfied
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                                                   #:4101


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The StudeCealth Center is int~rested in
possible medical care during your years at USC. The following
                                                                      best   (~
                                                                              0 medical
                                                                                How satisfied were you with your encounterCit11 the
                                                                                        practitioner?                       ·
questionnaire will help us identify l~ hat you think we are doing well and                  ()( ) ~ Satisfied (          ) Satisfied (     ) Dissatisfied ,
where we need to improve your ck.
                                                                                            (5,.e_ ~ c . .2. bes+- ;(Delo~ ::r::'Yt.. v,~,+-/ ,'),. w..y t,=4_ (
1.     Overall, how satisfied Jwere you with your visit at the                  1 2.        Did the practitioner:
       Student Health Center?                                                               Pay attention to your concerns and worries? (YES/               NO
       (X>  Very Satisfied ( I ) Satisfied (  ) Dissatisfied                                Inform you about your problem or disease? ~                     NO
                                                                                            Explain procedures and treatment?            ~                  NO
2.     How satisfied were you with the appointment                                          Instruct you about your continuing care?                        NO
       system?                                                                              Introduce him or herself?                                       NO
       (   ) Very Satisfied ( )(") Satisfied ( ) Dissatisfied

3.     How satisfied were yo with the sign-in process?
                                   ~
                                                                                Thank you for taking the time to evaluate our performance. If you
       (  ) Very Satisfied C-)(") Satisfied (
                                   1
                                              ) Dissatisfied                    would like to further describe your experiences with us, would you
                                   I
                                                                                please do so below. If you have special concerns you would like to
4.     How satisfied were yob with your encounter with the                      discuss, please leave your name, telephone number, date and time of
       medical assistants in rbom 100 or 215?                                   your visit, and the best time to contact you. (.v ,.w/ -,.,,, cq// _ ~ .. ., f.s)
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       (  ) Very Satisfied (    ) Satisfied ( ) Dissatisfied

S.     How satisfied were yol with your encounter wi_th the
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       nurses?                ·
       ( >(J Very Satisfied ( I ) Satisfied ( ) Dissatisfied                    -H.oco~/21tft.f[ ,                 1-k. h-.z+<-...,s       :<,ef ulkeues                ell

6.     How satisfied were yoµ with your encounter with the
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       Laboratory?
       (  ) Very Satisfied ( I ) Satisfied ( ) Dissatisfied                                 Add;b>.r.o ll;c7
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7.     How satisfied were yoµ with your encounter with the                                                          11
       Pharmacy?
       (  ) Very Satisfied (   Satisfied (  ) Dissatisfied
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8.     How satisfied were yo           with your encounter with the              1n e..d,   2..,,/     +re 'l7?'n. et1,+JS •
       X-Ray Department?
       (  ) Very Satisfied (      l)    Satisfied   (   ) Dissatisfied
                                                                                                                                        Time to call:        eVe.M'bp

                                  l)
9.     How satisfied were yo           with your encounter with
       Physical Therapy?
       (  ) Very Satisfied (            Satisfied   (   ) Dissatisfied          Once completed, please fold and drop into the suggestion box
                                                                                located on the wall , next to the reception desk, in the main
1 o.   How satisfied were yo with your encounter with the                       lobby o f the Student Health Center.


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       Cashier?
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                                  #:4102




                          Tab 11
    Case 2:18-cv-04258-SVW-GJS Document 143-2 Filed 05/23/19 Page 57 of 79 Page ID
                                      #:4103



From:                Tammie Akiyoshi
To:                  Lawrence Neinstein
Sent:                2/8/2000 10:41:54 PM
Subject:             Re: Concerns about the Health Center (twd)


At 12:08 PM 2/8/00 -0800, you wrote:
>tatnmie,cathy, can you problem solve with nursing/front desk as to what
went wrong with this student?
>bernadette can you log this student concern and I will be writing back to
her.
>larry
>
>Forwarded message;
   From               iTue Feb 8 10:52:54 2000
» Date: Tue, 8Feb2000_10: CO :51 -0800 (PSTi
»
>>
>>
»
>>
   From;
» Subjeeti Concerns about the Health Center
»
» Dr. Neinstein,
>>
»    I write you as a concerned student. I have recently had to make several
>>   visits to the health center as a result from a nagging cold I haven't been
»    able to shake in the past few weeks. One week ago I made an appointment
>>   and after less than five minutes with the doctor, his recommendation was to
>>   continue to take Sudafed and the cold would clear up.
>
Student was seen 12/16/95 by Emily for cold symptonus. Was given Symmetrel
and told to increase fluids and rest.

The student then saw Dr. Tyndall on 2/1. "the patient is in no acute
distress"
assessment "viral upper respiratory infection" plan: sudafed, cold-eeze and
afrin, RTC if no improt^ement, and discusses lack of efficicacy of antibiotics
for viral illness.

> Instead, it got worse and after another appointment, this one with a
» different doctor, yesterday afternppn, I have been diagnosed with
» bronchitis. I was very satisfied with the through nature of the diagnosis
» and care given during my visit with Dr. McKinney.

Saw Dana yesterday during her regular clinic. There are no notes in the
chart as of yet. What I am told is that the student was told he has
bronchitis and given an aerosol treatment in ACC. .Apparently Dana told
the front desk and the student to return today to ACC for another aerospl
treatment. This was not conveyed to the ACC doc or nurse so when the
student was checked in to ACC and determined to be in no acute distress,
he was redirected to the front desk for an appointment. The student
was informed that this was to establish continuity of care.

»    This was complicated, however, by her recommendation that I return Tuesday
»    morning to the health center to listen to my breathing and determine if
»    another breathing treatment would be in order. Since Dr. McKinney would
»    not be in today, both she and the front desk staff instructed me to return
>>   this morning and check in for acute care and they would take care of it.
>>   I did just that and after checking in and having the nurse check my
»    temperature, pulse, and blood pressure, the nurse in charge of acute care
>>   said I couldn't be seen through acute care. I was taken back out to the
»    front desk to make yet another appointment. -At this time, the nurse again
»    caitte out and made it very clear to myself and the front desk staff that I
»    was not to be seen through acute care and that Dr. McKinney had been wrong.
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Dr. Lim and Sharon were in ACC. By looking in Pyramed and the chart and the
.student, it appeared not to be acute".
The problem with discussing anything like this in front of the student, is
that it splits the staff and appears that one doesn't want to see the patient
and the other does.

>>   All in all, the ordeal took 30 minutes and I received zero treatment.
»    Luckily I am feeling well and my breathing feels clear, but I feel the way
»    in which my case was handled was very poor and I fear other students may be
»    treated the same way. I feel this is not in line with the ultimate goal of
»    the health center and all in the health profession- the care and well-being
»    of the patients.

The student was given an appointment after 5:00 today per his request.

>>   After having two experiences with the health center which were less than
»    satisfactory, 1 felt the need to inform you. I hope cases such as mine are
»    isolated, but I hope you follow up on these instances to help ensure
»    students receive the best and most convenient health care possible at the
»    health center.

Issues:

1. Front desk/ACC communication has been strained. They both feel the
other is telling them what to do. Regardless, this shouldn't
have taken place in front of the student.
2. Dana failed to communicate her plan, and is this where the follow-up
should take place.
3. The ol' "what is ACC question. Is it only acute?
4. There appears to be some question about the use/overuse of aerosol
treatments.
I'm sure there are more issues but that’s all for now.

Tammie




>> Thank you for your time,
»
>>
>>
»
»
>
>

Tammie A-kiyoshi, BSN, HA
Director of Nursing
University of Southern California
University Park Health Center
(213) 740-0233
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                          Tab 12
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The Student Health Center is intereslcd in providing you wi1h lhe hesl          I I.     How satisfied were you with your em·ounlcr with tlu-
possible medical care during your years at USC. The following                            ~~~cal practitioner?
questionnaire will help us identify what you lhink we are doing well and
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                                                                                         {/'{ Very Salisfied     (   ) Salisfied    (     ) I lissalisficd
where we need to improve your care.

J•     Overall, how satisfied were you with your visit at the                   I 2.     Uid the practitioner:
                                                                                                                                          ~
       ~dent Health Center?                                                              Pay altenlion to your concerns anJ worries?                         NO
       ~       Very Satisfied     (   ) Satisfied   (   ) Dissatisfied                   lnfonn you ahoul your prohlem or disease''                          NO
                                                                                         Explain procedures and lrealmenl''                                  NO
2.     How sa0sfied were you with the appointment                                        Instruct you about your conlinuing care?                            NO
       ~m?                I                                                              Introduce him or herself?                                           NO
       \ /"1   Very Satisfied     (   ) Satisfied   (   ) Dissatisfied

3.     Qo)" satisfied were you with the sign-in process?                        Thank you for laking the time lo evaluate our pcrfor111anc.:e. If you
       ( )<..J Very Satisfied     (   ) Satisfied   ( · ) Dissatisfied          would like lo furlher descrihe your experiences wirh us, would you
                                                                                please do so below. If you have special concerns you would like lo
4.     How satisfied were you with your encounter with the                      discuss, please leave your name, 1elcphone numhe r, date and lime of
       medical assistants in room JOO or 21S?                                   your visit, and the hcst time lo contact you .
       (     ) Very Satisfied     (   ) Satisfied   (   ) Dissatisfied
                                                                                 Wfj1 IS"(g0vJ~Ovtt5 - gwrS Vl{{rf-6__@._~fe'w!1.~                           ..
s.     How satisfied were you with your encounter w•th the
       ~9es?                                                                    1-eiau,, Visit OS~-                                             ---._
6.
       ( /'-.} Very Satisfied     (   ) Satisfied   (   ) Dissatisfied

       How satisfied were you with your encounter with the
                                                                                @ 1l"r""'U     I f , ~~Q\116\(/ ,1_1d_ l Vl$'t'Ci            I"&~M_
       Laboratory?
       (     ) Very Satisfied     (   ) Satisfied   (   ) Dissatisfied
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7.     How satisfied were you with your encounter with the
       Pharmacy?                                                                ~ ~~ ~ ~ ~ ( f t ( n ~ _/
       (     ) Very Satisfied     (   ) Satisfied   (   ) Dissatisfied

8.     How satisfied were you with your encounter with the                      (Op1ionall
       X-Ray Department?                                                        N am c
       (     ) Very Satisfied     (   ) Satisfied   (   ) Dissatisfied
                                                                                Te I c . II : _ _ _ _ __ __ _ __        Time to l·all :
9.     How satisfied were you with your encounter with
       Physical Therapy?
       (     ) _V ery Satisfied   (   ) Satisfied   (   ) Diss. · :.Jied        Once i:omplcled, please fold a nd drop i1110 the suggestion ho"
                                                                                located on th t: wall . ne xt 111 lhc rci:qll1011 tks k, in 1hc ma in
I O.   How satisfied were you with your encounter with the                      lobby of lhe Slllllcnt Health Ccnlcr.
       Cashier?            1

       (     ) Very Satisfied     (   ) Satisfied   (   ) Dissatisfied                          P.O. e>.   04-19-00P02:58 RCVD            ~y\,
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The StudCf.Iealth Center is int~rested in providing you with the best
possible medical care during your years at USC. The following
                                                                           r   11 .   How satisfied were you with your encounte(:th the
                                                                                      medical practitioner?                   ~               ·
questionnaire wi1l help us identifyiwhat you think we are doing well and              (  ) Very Satisfied (  ) Satisfied (,...........~Dissatisfied
where we need to improve your care.

1.     Overall, how satisfied were you with your visit at the                  12 .   Did the practitioner:
       Student Health Center?                                                         Pay attention to your concerns and worries?       ~
       (   ) Very Satisfied (  ) Satisfied        ().4
                                               Dissatisfied                           Inform you about your problem or disease?
                                                                                      Explain procedures and treatment?
                                                                                                                                        YES
                                                                                                                                                 ~
2.     How satisfied were you with the appointment
       system?
       (   ) Very Satisfied ( ) Satisfied ~ Dissatisfied
                                                                                      Instruct you about your continuing care?
                                                                                      Introduce him or herself?
                                                                                                                                    Is           NO
                                                                                                                                                 NO

3.      H_ow~atisfied were you with the sign-in process?                       Thank you for taking the time to evaluate our performance. If you
        ( ),4 Very Satisfied ( ) Satisfied ( ) Dissatisfied                    would like to further describe your experiences with us, would you
                                                                               please do so below. If you have special concerns you would like to
4.     How satisfied were you with your encounter with the                     discuss, please leave your name, telephone number, date and time of
       m,!d,!9-11 assistants in room 100 or 215?                               your visit, and the best time to contact you.
       ( )<l Very Satisfied ( ) Satisfied ( ) Dissatisfied
5•     How satisfied were you with your encounter with the
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       nurses?
       <)4' Very Satisfied (  ) Satisfied ( ) Dissatisfied
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6.      How satisfied were you with your encounter with the
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        Laboratory?
        (  ) Very Satisfied (  ) Satisfied ( ) Dissatisfied                    tJoec 1)'<aa±, ~ \ ::t. 00\.u~nd ~ ~ t.I)
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7.      How satisfied were you with your encounter with the                    ortf J;r on \Y:fec-fioo q, re r D ~ d
        Pharmacy?
        (  ) Very Satisfied (  ) Satisfied ( ) Dissatisfied                     me ar,d :±zi..Qr.d-ed me Ln/ 0~11 c~ <\.-\xd-
8.      How satisfied were you with your encounter with the                     ~ >8 b:,;,.e ~ d wv:,ou~ e.o!Ufq,,uenc.e :s ~
        X-Ray Department?                                                                                                     /
        (  ) Very Satisfied ( ) Satisfied (  ) Dissatisfied
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9.      How satisfied were you with your encounter with
        Physical Therapy?                                                                               ·"2>\-\C ,~ ,2-Y K
                                                                               Once completed, please fold and drop into the suggestion box
        (  ) Very Satisfied (  ) Satisfied ( ) Dissatisfied
                                                                               located on the wall, next to the reception desk, in the main
                                                                               lobby of the Student Health Center.
1 o.    How satisfied were you with your encounter with the
        Cashier?
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        (  ) Very Satisfied (  ) Satisfied ( ) Dissatisfied
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                          Tab 13
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                                   #:4109



From;               Elizabeth Davenport
To:                 neinstei
Sent:               4/20/2000 5:58:09 PM
Subject:            appointment


Larry,
I have an appointment on your calendar for Monday morning with student
               and I just wanted to brief you a little, It*s concerning an
incident with Dr. Tyndall, whom she saw at the end of March. Her RA
escorted her to the Health Center, and i\'itnessad what happened. The RA then
encouraged        to work with me and Casey (my grad assistant), which
has been doing. I've been encouraging her to tell you what liappened with
Dr. Tyndall, and I'm really pleased that she's summoned up the courage to
do so. I’m not sure whether the R.A will be present or not on Monday, but
the RA. will certainly be willing to talk With you about it also.

Elisabeth

Elizabeth J.L. Davenport
Assistant Dean for Student Affairs
University of Southern California
Los Angeles, CA 90085-0890
213.740.4900
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                          Tab 14
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                                  #:4111




           George Raymond Tyndall, MD.
           849 West 34“’ Street
           Los Angeles, CA 90Q89-0311

           Dear Dr. Tyndall,

                   This lettef is in regard to your e.'Ctreraely unprofessional behavior
           during my appointment on Tuesday, April 11, 2000. The story you told me
           about the rock guitarist from Megadeth and his experience having sexual
           relations on the street in Chicago with the woman who had to first remove
           her tampon was disgusting and inappropriate. It was degrading and
           humiliating for me to listen to such talk from anyone, let alone a supposed
           professional in a very intimate and invasive field of expertise Such as
           gynecology'. Aftof such a repulsive display of un-professionaJism, I have
           lost all trust in you as my physician.

                 In addition, when you recommended I take birth control pills to
          prevent cancer, I said I would like to do some research on my own before
          taking a hormone medication. You completely ignored my vvish^ and
          ordered the prescription anyway. You are practicing cookbook medicine by-
          prescribing a medication that could deplete my mineral balance and alter ray
          hormonal balance when / have m menstrual problems. Because of your
          lack of consideration, I will never return to you again. It is my sincere hope
          that the University addresses this problem so that another innocent woman
          does not have to suffer the stress and shame tliat I have anguished over since
          our visit.

                  Consider this my foiroal request to release my medical records and
          test results so I can seek the care of another, more professional, physician.




          CG: Larry Isleinstein M.D.




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                                  #:4112




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     ijiKSlionitaire will hci|i ss idcolify what yiw ihinli we are lining well and               (    I Very SatWled <     J SalisKeil
     where wc nteti is improve your care,
     i^      Overail, h»w ssitMieii were you with your visit al the                       12.     IMd the ijrailitiuner:
       *     Student tleahh Center? ‘                                                             Pay ffllenf IHii in yiiur coiicems wni wtin ies?   V'i-S
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     2.      How satisfled were you with the iqtpoinlracffl!                                      iiBinM y«« ithiiul yiair ctBiliwiMii! eaie"’       YliS            Nil
             system?                                                                              iiilniiluee him ttr iierselPi                      Vl«             Nil
             ( ) Very Satisfied (iX) Satisfied f    ) Dissatisfied
             Row satisfiedl were you with the signMS process?                             Ihaiiii you fnr tskii^ titc lime to evalnsfe «»» {terttHimuKc II ytiti
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     4.      How sotisfted were you with your eneuunter with the                          discuss, please have yntii iiaiiie, iclephiiiie nuiiiiiet. dale anil iiiiic id
             medical assistants m room M# or 215?                                         yisir visit, and tire lu-st tune In eiimaet yini-
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     5.      How salislied were you with your eircoanter with the
             nurses?
             ( I Very Salisfied (1/ ) SaSisfieil ( I Dissatisfied
             Haw satisfied were you with your encounter with the
             Laboratory?
             ( i Very Satisfied {t/ \ Saiisfiei! ( ) Dis-satiidiei!

     7.      How satisHeil were you with your rstcountcr with the
             Pharmacy?
             <.   j VerySiBisfied      (   I Smisfiial    (     ) DissatWaJ

     8,      Hew atisfied were yoa with your encounter with the                           inrotw-ii
             X*R»y Departmenl?                                                            M it ei e
             { ) Very Satisfied { ) SaOsBed {    1 Dissmisfied
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     f.      How saHsHed were jmt with your eacoualer with
             Physdcsd Therapy?                                                            tJRtfc              plcajtsr l«W            i«i« iNv                        hit\
             f ) Very Salisfied i } Satbited { >                                          tiscaierf *»» itJc wafi. twxi t«»     uvt'|»w«« dchl..           mi sIr'   »iai«
             How saibflod were 3?oe with your encomUsr with the                           f«M»y mI liie NmmU'IH Ik'aiih rt'iHci
             CasbIerT
             ( j VeiySsisfed ( i/) Satisfied ( I DissaliiM                                                                                               "Lr

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                          Tab 15
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        Re:_________ 5/1/00; talked with student and her concerns and she is feeling better. She
        will be making an appointment with another clinician in the fitturc. She felt that the
        discussion of her health care was unprofessional but appreciated both the letter from Dr.
        Tyndall and my phone call.
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                                  #:4115




        Two items;
        1) you arc welcome to send the letter that you typed out, However, just some feedhack.
           Sometimes your written responses are very long (I can have the same tendency).
           Often it is better received and heard if it is kept short and to the point. Below is one
           example of how this might he done.
        2) Lucy is setting up a short meeting with Elizabeth davenport and myself to discuss a
           student who had some concerns. Thanks, larry



        Thanlc you for your letter post marked April 19. I am always happy to hear back from
        students with both positive and negative feedback. First let me assure you, that all
        students always have a choice of clinicians. If you are unhappy with the care I provided,
        than absolutely, you should seek another clinician. How'ever, I would like to respond to
        you concerns.

        First, let me apologize, if you misunderstood the intent of the Megadeth cottvemation. It
        is my medical practice to utilize the biopsychosocial approach to health care. This
        involves, not just knowing about the medical complaint but also how the student is
        fimetioning in terms of psychological and social health. 1 thought that since you are a
        music major and interested in the music industry that this recent article in The New York
        Times Magazine might be of interest and a good lead in to a dkcussion of safe and unsafe
        sexual practices. I apologize if you found the conversation unprofessional.

        Regarding the use of oral contraceptive pills. It is common practice to prescribe oral
        contraceptive pills to women in their 40s for both contraception and the non-
        contraceptive benefits of lowering significantly the risk of uterine and ovarian cancer.
        Because you indicated you wanted to explore this further, I offered you a prescription at
        the pharmacy that you could pick up, if you decided you wanted the Ortho-Cyclen. Since
        you indicated that this was okay, I sent the script over. There w'as no intention that you
        must pick up and utilize the prescription. There are woman whose lives could have been
        saved by the use of oral contraceptive pills in preventing these unfortunate cancers.
        Agam, I apologize if there was a misunderstanding about this prescription.

        Again, than you for you feedback. As you reqeusied etc.
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                                  #:4116




                          Tab 16
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The,...._dent Health Center is interested in providing you with the .,,,...\    1 1.      How satisfied were you with your en<'ier with the
posl~,e medical care during your years at USC. The follow\..~                             medical practitioner?                     ·
questionnaire will help us identify what you think we are doing well and                 (      ) Very Satisfied     (    ) Satisfied        £'.><.)   Dissatisfied
where we need to improve your care.
1.     Overall, how satisfied were you with your visit at the                   1 2.      Did the practitioner:
       Student Health Center?                                                            Pay attention to your concerns and wonies?                YES
        (   ) Very Satisfied     '9() Satisfied      (     ) Dissatisfied                lnfonn you about your problem or disease?                 YES
                                                                                         Explain procedures and treatment?                         YES
2.     How satisfied were you with the appointment                                       Instruct you about your continuing care?
       system?                                                                                                                                     YES
                                                                                         Introduce him or herself?                                 YES
       (    ) Very Satisfied     C<) Satisfied       (     ) Dissatisfied
3.      How satisfied were Y__!!l,)'ith the sign-in process?                    Thank you for taking the time to evaJuate our performance. If you
        (   ) Very Satisfied     ~       Satisfied   (    ) Dissatisfied        would like to furtf}er describe your experiences with us. would you
                                                                                please do so below.. If you have speciaJ concerns you would like to
4.     How satisfied were you with your encounter with the                      discuss, please leave your name. telephone number. date and time of
       ~e~cal assistants in reem lCNh:,r 215"? ~~ ~                             your visit, and the best time to contact you.
       11..)(__) Very Satisfied (      ) Satisfied   (    ) Dissatisfied
5.     How satisfied were you with your encounter wJth the
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       ~isfied                   0""
                              > Satisfied ( ) Dissatisfied
                                                                                /Po/: t           #4-aao ll"e                   dl/Vt1/V     6..,a-JJ.LP-4~
6.



7.
       How satisfied were you with your encounter with the
       Laboratory?
       (    ) Very Satisfied     CX) Satisfied       (

       How satisfied were you with your encounter with the
                                                          ) Dissatisfied         Ct:.j_ c?<;t
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                                                                                 ~ WtZQ t{g ~ ttA-e!(r:fw:~~ ,
       1'\frmacy?
       &('--)   Very Satisfied   (     ) Satisfied   (    ) Dissatisfied
8.     How satisfied were you with your encounter with the
       X-Ray Department?
                                                                                 &i> ~~ ~J~ -n..ur~+e.
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       (    ) Very Satisfied     (     ) Satisfied   (    ) Dissatisfied

9.     How satisfied were you with your encounter with                                                                          ime to call: ~,-"-----'----
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       Physical Therapy?
       (    ) Very Satisfied     (     ) Satisfied   (    ) Dissatisfied        Once
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                                                                                lobby of the Studen; H::lthtoc::~/eception desk, in the main
10.
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       How satisfied were you with your encounter with the
       Cashier?
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                          Tab 17
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The ~( 1t Health Center is interested in providing you with the be(         11.        How satisfied were you with your encoJ -•· with the
possibft medical care during your years at USC. The following
questionnaire will help us identify what you think we are doing well and
where we need to improve your care.
                                                                                       medical practitioner?
                                                                                       (       ) Very Satisfied              (       ) Satisfied   <Xi   Dissati~fied


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       Overall, how satisfied were you with your visit at the               12.        Did the practitioner:



2.
       Student Health Center?
       (    ) Very Satisfied    (   ) Satisfied

       How satisfied were you with the appointment
       system?
       (
                           •,
            ) Very Satisfied    i( ) Satisfied
                                                   (



                                                   (
                                                           ) Dissatisfied



                                                           ) Dissatisfied
                                                                                       Pay attention to your concerns and worries?
                                                                                       Inform you about your problem or disease?
                                                                                       Explain procedures and treatment?
                                                                                       Instruct you about your continuing care?
                                                                                       Introduce him or herself?
                                                                                                                                                     YES
                                                                                                                                                     YES
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3.      How satisfied were yo,.lh with the sign-in process?                 Thank you for taking the time to evaluate our performance. If you
        (   ) Very Satisfied    C(J ) Satisfied    (       ) Dissatisfied   would like to further describe your experiences with us, would you
                                                                            please do so below. If you have special concerns you would like to
4.      How satisfied were you with your encounter with the                 discuss, please leave your name, telephone number, date and time of
        medical assistants in room 100 or 215?                              your visit, and the best time to contact you.
        (   ) Very Satisfied    (   ) Satisfied    ))( )     Dissatisfied                     , cW a-1 ~ d -t4fa ,rr..i/C-, {l.{'.t
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5.      How satisfied were you with your encounter wjth the
        nurses?
        (   ) Very Satisfied    t,l ) Satisfied    (       ) Dissatisfied
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        How satisfied were you with your encounter with the
                                                                                                                        ~
6.
        Laboratory?
        (   ) Very Satisfied    (   ) Satisfied    (       ) Dissatisfied
                                                                                                                             _~11~»~ ~~£v-
7.      How satisfied were you with your encounter with the
        Pharmacy?
        (   ) Very Satisfied    (   ) Satisfied    (       ) Dissatisfied

8.      How satisfied were you with your encounter with the
                                                                              ._,.,        -   -           ......
                                                                            (Optional)
        X-Ray Department?                                                   Name
        (   ) Very Satisfied    (   ) Satisfied     (      ) Dissatisfied
                                                                            Te I e . # : _ _ _ _ __ _ _ _ _ _ Time to call:
9.      How satisfied were you with your encounter with
        Physical Therapy?                                                    Once completed, please fold and drop into the suggestion box
        (   ) Very Satisfied    (   ) Satisfied     (      ) Dissatisfied
                                                                              located on the wall, next to the reception desk, in the main
                                                                            · lobby of the Student Health Center.
1 0. · How satisfied were you with your encounter with the
       Cashier?             \/                                                                                                                       ~-~Ou
        (   ) Very Satisfied    ( J\ ) Satisfied    (      ) Dissatisfied
                                                                                                   \JV-.
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                          Tab 18
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                                      #:4121



From:              William Leavitt
To:                Larry Neinstein
Sent:              9/7/2000 3;20;04 PM
Subject:           Re: 2 cases of concern


Dear Larry:

In response to your inquireys:

>1) student came in today to see carmella for murmur. She was seven minutes
>late and Carmella did not see her. She was rescheduled with Dr. Tyndall,
>He saw her but said he could not see her because he was a gynecologist and
>not a cardiologist. Student vras rescheduled tomorrow to see you. Student
>is less than pleased.

This happens here a lot, you just do not hear about it. Part of the problem
is that the UPHC Clinical Staff has drawn boundrys over what they consider
primary care. To everyone e.xcept myself and Dr. Walker, a murihur is an
Internal Medicine problem. Irregardless of whom the patient saw, she would
have been referred to Internal Medicine and that visit considered waisted.
This is by no means restricted to Dr. Tyndall.


>
>a) We need to look at that late policy fairly soon and see about
>implementation

As for the late policy, we discussed my recommendation yesterday. The
sooner ws implement the proposed policy, the better.
>
>b) I thought George v/as primary* care clinician and hired as such and not as
> gynecologist?

Dr. Tyndall's training is in Gynecology. I do not know the specifice of the
terms of his hiring. In the past he has served as a Gynecologist who also
sees primary care eases.
>
>2) We had pap smear that Was done by George in april and came back as CIN
>11. there was never any followup. We finally traced student down to
>Berkely this week and she assumed everything was alright. There is
>sign-off on pap slip by George but nothing in chart about followup and
>student was never called.

I will look into this. Gould you provide me with the students name and or
Social Security Number?

Bill
>
William Leavitt, MD, FAAP
Staff Physician
University Park Health Center
University of Southern California
849 West 34th Street #216
Los Angeles, California 90085-0311
(213) 740-0456 Office
1213! 740-0214 Fax
wleavitt@bcf.usc.edu E-Mail




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                          Tab 19
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                                  #:4123




                                                Appomimetii Department
                                                  Research Data Sheet



    Date:,   nil          !


    Patient's Name


    SSIt.V^C ID#                                                Tcleplionc n


    Appt. lime:    //-                     Date       /// /^jol                     Practirioner:

    Expianaiion: 7^/-     UJ      -S                           ig/7     /7

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     Cm-'T^cJ^ IP-g            -^vG-e                           rnSVA.^ •
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             Given To:                                 Date:                                      Time;


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    Research;.

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                                  #:4124




                          Tab 20
 Case 2:18-cv-04258-SVW-GJS Document 143-2 Filed 05/23/19 Page 79 of 79 Page ID
                                   #:4125




From:              Larry hteinstein
To:                wleavitt@usc.edu
Sent:
Subject:           Fwd: Interviews with the Health Center


<htinl >
i think we need to discuss this email and the two student concerns this week regarding Dr.
Tyndall.<br>
In looking at pyramed, this student has positive mono and hgb of 14.2 add mcv of 94,4.<br>
why would George tell this patient her mono is negative but that she is anemic and start
her on iron.<br>
also starting OCPs in the midst of acute mono with no need for contraception is not ideal.
<br><bt>
thanks,<br>
larry<br><br>
<blockquote type=cite class=cite cite>From: <br>
Date: Thu, 13*Dec 2001 16:10:54 EST<br>
Subject: Interviews with the Health Center<br>
To: neinstei@uso.edu<br>
<br>
XXX, 18, a track runner majoring in psychology, said she was <br>
stunned when Pr. Tyndall suggested birth control to her because she was an <br>
athlete.     I'm not sexually active so I v/asn't sure hov; I would benefit," she <hr>
said, "he then he told me I could skip my period for three months."<br>
     XXX said she was baffled because she was going to the health center to <br>
get the results of a mono test she had taken three weeks prior and leaving <br>
with a prescription for birth control. XXX said she x-tas most upset <br>
because Dr. Tyndall had previously told her the results of the mono test were <br>
negative.<br>
     "Three weeks ago, I went to the health center to find out the results of <br>
the mono test which I had just taken. The lady at the desk called him (Dr. <br>
Tyndall] from downstairs and asked him," said XXX. The receptlopist then <br>
informed XXXX the results were negative but that Dr. Tyndall believes she <br>
might be anemic.     He [Dr. Tyndall] told me that was why I had passed out at <br>
a meet and that I should take iron supplements, .XXXX said.<br>
     XXXX started taking iron suppleffients and continued to run. Her <br>
symptoms did not get better so she went to another doctor,       I told him I had <br>
already taken a mono test so he didn’t give me another one, she said. The <br>
doctor did however notice XXXs inflamed throat and diagnosed her with <br>
strep throat. <br>
Then three weeks later she Dr. Tyndall contacts her. tl I get a call on my <br>
cell, phone as I'm leaving class, He [Dr. Tyndall] tells me 'Oh! I'm looking <br>
at your file and it appears that you have mono,       Dr. Tyndall then <br>
recommended she come in so they could discuss her diagnosis. <br>
     By this point XXX was disturbed because "here I am taking iron <br>
supplements and antibiotics for strep throat when all the time time I had <br>
mono," she said, "I just wanted to get a copy of: the blood test so that I <br>
could bring it to my doctor.     <br>
     After briefly meeting with Dr. Tyndall to obtain a copy of her positive <br>
blood tests, XXXX was on her way out when Dr. Tyndall said "I did want to <br>
talk to you about something before you left,      XXX was then given the <br>
prescribed lecture on birth control and all its benefits. <hr>
     X>CX confesses she was caught off guard and found the recomnendation a <br>
little weird. "Since I am a runner, he told me that when I have meets, I <br>
probably want to be off ray period . . . birth control would allow me to skip <br>
my period for months at a time," she said, " So I asked him if there were any <hr>
side-effects to going on birth control and he said 'no not at all' and he <br>
gave me the actual prescription,''<br>
     XXXX was a little concerned because Dr. Tyndall hadn't even given her a <br>
complete medical exam.     So I went home and asked my mom about it," she said. <br>
 After consulting with her mom and her regular doctor XXIXX decided that <‘br>
birth control wasn't for her.</blockquote></html>
